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                              COURT OF APPEALS
                       ~OR THE 3rd. CIRC UIT ET. AL.,

                           ----~------~--------
                         PETI TION FROM NEW JERSEY
                    THE NEW JERSEY DIST RICT COURT AND
                       THE NEW JERSEY SUPREME COURT

                            --------------------
                 DOCKET CASE NO.( S) 14-1 364 AND 14-2 811

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                                            H T. TISH BITE AKA
LAWRENCE L. CRAWFORD AKA.JONAH GABRIEL JAHJA
JAHJAH AL MAHDI,

                                                         PETI TION ER(S )



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                                            ET. AL.,
THE STATE OF NEW JERS EY; THE UNITED STATES

                                                         DEFENDANT(S)

                             --------------------
                             AFFIDAVIT OF SERVICE

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                                             H TO THE (4) THRONES
I, JAff~AH AL MAHDI, FIDUCIARY KING-KHALIFA
                                                E AND COURT' DO
OF T~~~};RE-ESTABLISHED. GLOBAL THEOCRATIC STAT
                                             SERVED A COPY OF AN
HER ~~:C ERTI FY, THAT I HAVE MAILED AND OR
                                               FILIN G WRIT OF ERROR;
AFFIDAVIT OF FACTS GIVING JUDI CIAL NOTICE;
                                               SDIC ~ION ; MOTION
MOTION TO CHALLENGE THE 3rd. CIRC UIT'S JURI
                                                S 14-2 811 AND 14-
TO VACATE AND RENDER VOID ALL ORDERS IN CASE
                                               MOTION FOR SANCTIONS
1364 ; MOTION TO PROCEED IN FORMA PAUOERIS;
                                               END OR RELAX THE
DUE TO FRAUD UPON THE COURT; MOTION TO SUSP
                                                PAGE LIMI T; MOTION
APPELLATE COURT RULES; MOTION TO EXCEED THE
                                              THE 3rd. CIRC UIT COURT
TO STAY AND MOTION TO MOTION THEREFOR, ON                                     .I

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     Case 1:14-cv-14176-ADB Document 576-5 Filed 10/03/18 Page 29 of 168
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OF APPEALS AND I.TS ATTACHMENTS REFERRED TO THEREIN, AT 21400
U.S. COURTHOUSE 901 MARKET STREET PHILADELPHIA , PA. 19106, BY
U.S. MAIL, POSTAGE PREPAID, BY DEPOSITING THEM IN THE INSTITUTION
MAILBOX ON FEBRUARY 16, 2018.




                                          RESPECTFULLY,
                                          JAHJAH AL MAHDI, THE LION
                                          OF ALLAH, KING-KHALIFAH
                                          AND CHIEF JUSTICE TO THE
                                          (4) THRONES OF THE
                                          RE-ESTABLISHE D GLOBAL
                                          THEOCRATIC STATE AND COURT




FEBRUARY 16, 2018




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    Case 1:14-cv-14176-ADB Document 576-5 Filed 10/03/18 Page 30 of 168
                           COURT OF APPEALS
                    FOR THE 3RDo CIRCUIT ETo ALo,




                       PETITION FROM NEW JERSEY
                   THE NEW JERSEY DISTRICT COURT AND
                      THE NEW JERSEY SUPREME COURT



              DOCKET CASE NOa(S) 14-1364 AND 14-2811

                         --------------------
LAWRENCE Le CRAWFORD AKA JONAH GABRIEL JAHJAH To TISHBITE AKA
JAHJAH AL MAHDI,

                                                    PETITION ER(S)




THE STATE OF NEW JERSEY; THE UNITED STATES ET. AL.,


                                                   DEFENDA NT(S)




        AFFIDAV IT OF FACTS GIVING JUDICIAL NOTICE; FILING
      WRIT OF ERROR; MOTION TO CHALLENGE THE 3rd. CIRCUIT 'S
       JURISDIC TION; MOTION TO VACATE AND RENDER VOID ALL
    ORDERS IN CASES 14-2811 AND 14-1364; MOTION TO PROCEED IN
        FORMA PAUPERIS ; MOTION FOR SANCTIONS DUE TO FRAUD
        UPON THE COURT; MOTION TO SUSPEND AND OR RELAX THE
    APPELLATE COURT RULES; MOTION TO EXCEED THE PAGE LIMIT;~-
          MOTION TO STAY AND MOTION TO MOTION THEREFOR




       TO: THE 3RD. CIRCUIT COURT OF APPEALS ET~ AL.,

                                 1-of-27
     Case 1:14-cv-14176-ADB Document 576-5 Filed 10/03/18 Page 31 of 168
             THE KING-KHALIFAH TO THE (4) GLOBAL THRONES OF THE
RE-ESTABLISHED GLOBAL THEOCRATIC STATE GIVE THE 3rd. CIRCUIT
AND ALL PARTIES JUDICIAL NOTICEa ALL DOCUMENTS THAT ARE FILED
WITHIN BOTH CASES 14-2811 AND 14-1364 ARE NOW ATTACHED TO THE
FACE OF THIS DOCUMENT FOR ALL PURPOSESa HERE THE 3rdo CIRCUIT
WILL FIND:


                ( 1 ) EXHIBIT, "FOREIGN SOVEREIGN # 1 11 o THIS IS THE
AFFIDAVIT OF FACTS GIVING JUDICIAL NOTICE; RENEWING MOTIONS
                                      11
ETC   0   IN THE DOCUMENT ENTITLED,        AFFIDAVIT OF FACTS GIVING JUDI-
CIAL NOTICE; FILING IN FORMA PAUPERIS DOCUMENTS;***,              [15] PAGES
DATED NOVEMBER 8, 20170


                (2) EXHIBIT, "FOREIGN SOVEREIGN# 2 11     0   THIS IS THE
AFFIDAVIT OF FACTS GIVING JUDICIAL NOTICE; FILING WRIT OF ERROR;
MOTION TO AMEND PARTIES; MOTION FOR RECUSAL; MOTION TO REINSTATE
CASES 17-7068 AND 17-7186 ETo ALs,;***,            [70] PAGES DATED OCTOBER
s,    20170


                (3) EXHIBIT, "FOREIGN SOVEREIGN# 3"., THIS IS THE
AFFIDAVIT OF FACTS GIVING JUDICIAL NOTICE; FILING WRIT OF ERROR;
MOTION FOR AN INJUNCTION AND OR PROTECTIVE ORDER;***, [34] PAGES
DATED DECEMBER 20, 2017.


                ( 4) EXHIBIT, "PLRA'i. THIS IS THE APPLICATION SEEKING
TO FILE IN FORMA PAUPERIS. IT IS BY ALL THESE DOCUMENTS FIRST
MENTIONED THAT I MOTION TO·FILE IN FORMA PAUPERIS0 I ALSO GIVE
THE 3rd~ CIRCUIT COURT OF APPEALS JUDICIAL NOTICE~ BY THE DOCU-
MENTS SUBMITTED WITHIN THIS CASE IN TOTAL, I AM OFFICIALLY EXER-
CISING ALL SUPERSEDING ATTORNEY, JUDICIAL AND LEGISLATIVE POWER
AND AUTHORITY GIVEN TO ME, THAT IS LEGALLY BINDING UPON THE
3rd. CIRCUIT COURT OF APPEALS DUE TO THE UNITED STATES BEING
PARTY TO THE DEFAULT AND CLAIMS OF COLLATERAL ESTOPPEL EMERGING
FROM CASE 2013-CP-400-0084 IN THE RICHLAND COUNTY S.C. COURT
OF COMMON PLEAS. THIS FILING IN FORMA PAUPERIS IS GRANTED BY
DECREE AND JUDGMENT OF THE CHIEF JUSTICE OF THE GLOBAL THEOCRATIC
STATE AND COURT. IT IS SO ORDERED.


                (5) EXHIBIT, "3rd. CIRCUIT". BY THIS DOCUMENT IT

                                      2-of-27
    Case 1:14-cv-14176-ADB Document 576-5 Filed 10/03/18 Page 32 of 168
WILL PERMIT THE 3rdo CIRCUIT TO LOOK UP AND TRACK THESE PARALLEL
CASES ELECTRONICALLY IN BOTH THE STATE AND FEDERAL COURTSe YOU
ARE DEFENDANTS IN THESE PENDING CASES RELATED TO THE MATTERS
THAT TOOK PLACE WITHIN YOUR CIRCUITu TO WHICH THIS COURT IS
INVOLVED IN, ALSO REGARDING CASES 14-2811 AND 14-1364. THUS,
BY THE HOLDINGS MADE BY THE. UoSE SUPREME COURT UNDER ·W~L~IAW£
~~-~EWW£~L~AW1A 7 136 S.Cto 1899, 195 LoEd~2do 132, B4 U.,SoLoWo
4359(U.S.2016), THERE IS STRUCTURAL ERROR EXISTING IN BOTH CASES
                                                                    r

14-2811 AND 14-1364 VOIDING THE 3rde CIRCUIT COURT 1 S JURISDIC-
T.ION. THEREFORE, IT WAS ILLEGAL AND THE 3rdo CIRCUIT WAS VOID
OF JURISDICTION TO SEND AND OR ADJUDICATE THIS MATTER BY THE
LETTER AND OR ORDER THE 3rda CIRCUIT SENT TO ME DATED DECEMBER
20, 2017. SINCE YOU RECENTLY SENT ME THIS DETERMINATION FROM
THE COURT, I AM TIMELY TO CHALLENGE YOUR JURISDICTION REGARDING
THIS RECENT ACTION OF THE 3rd .. CIRCUIT COURT .. I AM CHALLENGING          j


YOUR JURISDICTION WHICH CAN BE RAISED EVEN AFTER THE FINAL ORDER
DUE TO YOU~ RECENT RESPONSE, THE INFIRMITIES THAT EXIST IN THE
CASE AS WELL AS DUE TO THE FRAUD, CRIMINAL CONSPIRACY AND OBTRUC-
TION OF JUSTICE YOU JUDGES ARE. PrESENTLY INVOLVED INo I MOTION
TO VACATE THE ORDERS FOR THIS REASON, JUST TO BEGIN WITHo


             (6) EXHIBIT, "FRAUD#. 1 11   0   THIS IS THE AFFIDAVIT OF
FACTS GIVING JUDICIAL NOTICE; FILING WRIT OF ERROR; RENEWING
THE MOTION TO REINSTATE CASE 9:17-cv-1140, [4] PAGES DATED JAN-
UARY 5, 2018 ..


             (7) EXHIBIT, "FRAUD# 2 11 ., THIS IS THE AFFIDAVIT OF
FACTS GIVING JUDICIAL NOTICE; FILING WRIT OF ERROR; SUPPLEMENTING
ISSUES ON APPEAL AND MOTION TO MOTION THEREFOR,          (21] PAGES DATED
JANUARY 5, 2018 FILED WITHIN THE 4TH. CIRCUIT.


             (8) ~XHIBIT, "FRAUD# 3n. THIS IS THE AFFIDAVIT OF
FACTS GIVING JUDICIAL NOTICE, FILING WRIT OF ERROR; NOTICE SEEK-'
ING LEAVE TO APPEAL;***,    [14] PAGES DATED JULY 2, 2017.


             (9) EXHIBIT, "FRAUD# 4"e THIS IS THE AFFIDAVIT OF
FACTS GIVING JUDICIAL NOTICE; MOTION TO SUPPLEMENT THE CAUSES
OF ACTION AGAINST JUDGES HARWELL, MERCHANT, WOOTEN AND DEFEN-

                              3-of-27
     Case 1:14-cv-14176-ADB Document 576-5 Filed 10/03/18 Page 33 of 168
 DANT;* **,[23] PAGES DATED JULY 8 1 20170 BOTH ITEMS #'S [7]
 AND [8] FURTHER ESTABL ISHES THE 3rdc CIRCUI T'S JURISD ICTION
 BY EXTRA- TERRITO RIAL JURISD ICTION CLAIMS WHERE THE JUDGES OF
 NEW JERSEY IN THE NEW JERSEY SUPREME COURT WITH THE JUDGES OF
THE NcJ. DISTRIC T COURT AND THE SoCo DISTRIC T COURT CONSPIR ED
ACROSS MULTIPLE STATE AND FEDERAL JURISDI CTIONS WITH PRESENTLY
UNDISCLOSED MEMBERS OF THE 3rdm CIRCUI T, TO INCLUDE THE OTHER
DEFENDANTS, IN THE CAUSES OF ACTION THAT ARE PRESENTLY PENDING
BEFORE THE VARIOUS COURTS CREATING PARALLEL AND OR INDEPENDENT
ACTION FOR FRAUD UPON THE COURTa I AM CHALLENGING THE 3rdo CIR-
CUIT'S JURISD ICTION BY THE NOTICE AND OR ORDER SENT TO ME DATED
DECEMBER 21, 2017 RECEIVED BY ME ON JANUARY 16v 20180 THUS,
I AM TIMELY TO CHALLENGE BY THIS RECENT ACTION OF THE 3rdo CIR-
CUIT WHERE THEY UNJUSTLY IN VIOLAT ION OF DUE PROCESSu MAKING
SUCH RESPONSE UNCONSTITUTIONAL, DELAYED RESPONDING SINCE 2014e
THIS IS AN ANCILLARY MATTER AND INDEPENDENT ACTION FOR FRAUD
UPON THE COURT DUE TO THIS ACTION AND CHALLENGE TO YOUR JURIS-
DICTION WHICH CAN BE RAISED AT ANY TIME AND CANNOT BE WAIVED
BY ME EVEN WITH MY CONSENT WHICH THE COURT DO NOT HAVE~ I ALSO
MOTION TO SEEK LEAVE TO APPEAL THE ORDER FROM THE N.J. SUPREME
COURT ATTACHED TO THIS EXHIBI T. ANY TIME LIMIT FOR SEEKING LEAVE
TO APPEAL THE N.J~ ORDER IS SUSPENDED AND OR RELAXED UNDER THE
FOREIGN SOVEREIGN IMMUNITY ACT AND DUE TO THE FRAUD AND EXCEP-
                        ' SURROUND THIS CASEc THIS MOTION SHALL
TIONAL CIRCUMSTANCES THAT
BE GRANTED BY THE 3rd. CIRCUIT BY DECREE AND JUDGMENT OF THE
CHIEF JUSTICE OF THE GLOBAL THEOCRATIC STATE AND COURT WHOSE
SUPERSEDING POWER AND AUTHORITY IS BINDING UPON THE 3rd. CIRCUI T.
IT IS SO ORDEREDa

                               11
              (10) EXHIBIT "
                           FRAUD # 5 11 • THIS IS THE AFFIDA VIT
OF SERVICE AND AFFIDA VIT OF FACTS GIVING JUDICIA L NOTICE ; MOTION
FOR RECUSAL; MOTION TO CHALLENGE THE S.C. SUPREME COURT' S JURIS-
DICTION TO STRIKE THE DOCUMENTS IN THE APPEND IX****, [15] PAGES
DATED JANUARY 9, 2018 FILED IN CASE 2017-00 02108 IN THE S.C.
SUPREME COURT. ·


           (11) EXHIBI T, "FRAUD # 6"o THIS IS THE AFFIDA VIT
OF SERVICE AND AFFIDA VIT OF FACTS GIVING JUDICIA L NOTICE ; MOTION

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. '   Case 1:14-cv-14176-ADB Document 576-5 Filed 10/03/18 Page 34 of 168
  TO STIKE THE RESPONDENT'S MOTION TO STRIKE THE DOCUMENTS IN
  THE APPENDIX*** 6 [15] PAGES DATED DECEMBER 25 8 2017 FILED IN
  CASE 2017-0002108 IN THE SoCo SUPREME COURTo


                 (12) EXHIBIT 6 "FRAUD# 7n,, THIS IS THE AFFIDAVIT
  OF FACTS GIVING JUDICIAL NOTICE; FILING REPLY TO RESPONDENT'S
  RETURN TO THE PETITION FOR WRIT OF CERTIORARI;***v [15] PAGES
  DATED DECEMBER 27, 2017 FILED IN CASE 2017-0002108 IN THE Soeo
  SUPREME COURTo


                 (13) EXHIBIT, "FRAUD# 8 11       0   THIS IS THE AFFIDAVIT
  OF FACTS GIVING JUDICIAL NOTICE; FILING WRIT OF ERROR; MOTION
  TO INTERVENE; WRIT OF COMMISSION;***,               [40] PAGES DATED JANUARY
  1, 2018 FILED IN CASE 2:17-cv-1300-RMG-MGBo


                 (14) EXHIBIT, "FRAUD# 9 11 ., THIS IS THE AFFIDAVIT
  OF FACTS GIVING JUDICIAL NOTICE; MOTION TO REINSTATE CASE 9:17-
  cv-1140;***, [4] PAGES DATED DECEMBER 23, 2017e

                                 11
                 (15) EXHIBIT,        DNA 11 • THIS IS THE APPLICATION FOR
  FORENSIC DNA TESTING THAT ESTABLISHES CASE 04-385 PRESENTLY
  PENDI~G BEFORE THE RICHLAND COUNTY S.Ce COURT OF GENERAL SES-
  SIONS. THE 3rd. CIRCUIT SHALL ORDER THE TESTING OF THE DNA IN
  QUESTION AS IS SPECIFIED WITHIN THIS DOCUMENT BY DECREE AND
  JUDGMENT OF THE CHIEF JUSTICE OF THE GLOBAL THEOCRATIC STATE
  AND COURTe IT IS     so   ORDEREDe


            THESE DOCUMENT WILL SERVE TO GIVE THE 3rda CIRCUIT AN
  UPDATE ON THE STATUS OF THESE MATTERS AS THEY EXIST BEFORE THE
  VARIOUS COURT INVOLVED WHICH INCLUDE THIS CASEo THEY HIGHLIGHT
  THE FRAUD AND CRIMINAL ACTS YOU CONSPIRED IN DEMONSTRATING STRUC-
  TURAL ERROR WHICH RENDER VOID YOUR ORDERS PRODUCED IN CASES
  14-1364 AND 14-2811 PURSUANT TO WilblAM£-~~-~EWW£~~~AW1Ar 136
  s.ct. 1899 (u.s.2016).


                 (16) EXHIBIT, "TRUSTEE". THIS IS THE DOCUMENT THAT
      ESTABLISHED CASE 16-2299 PENDING WITHIN THE 4TH. CIRCUIT COURT
      OF APPEALS. THERE IS TRUSTEE APPOINTED BY THE KING-KHALIFAH.
      THUS, YOUR JURISDICTION IS VOID FOR THIS REASON ALSO AND YOUR
                                        5-of-27
     Case 1:14-cv-14176-ADB Document 576-5 Filed 10/03/18 Page 35 of 168
ARE MOTIONED VACATED AND YOU SHALL GRANT THIS BY DECREE AND
JUDGMENT OF THE CHIEF JUSTICE OF THE GLOBAL THEOCRATIC STATE
AND COURT. THIS ALSO PROVES YOU DID NOT HAVE JURISDICTION TO
SEND THE NOTICE AND JUDICIAL DETERMINATION DATED DECEMBER 21,
2017 .. ONCE JURISDICTION WAS ACQUIRED AS IT WAS DECEMBER OF 2015,
IT IS EXCLUSIVEe YOUR ORDERS ARE VACATED~ IT IS SO ORDERED,
gRQWW-~v-~RQWWz F.Supp.2do, 2013 WL 2338233(DoCeK Ym2013); MARRI£
v'P-MEIGREGt;;:r F.. supp. 2d.,,
                         2 o 1 3 WL 13311 6 6 (Noc 2 o 1 3) ; KAlilWAb~sf~}.Z'A
                                                            D



Vv-~v~~-MQRGA W-~~ASE-SANK -W~A~r 871 FeSupp.2d. 834(2012).


        ALSO BY THIS DOCUMENT., IT EXPLAINS THE 11 TRUST 11 AND THE
 "INTELLECTUAL PROPERTY" CAUSES OF ACTION AND CONCERNS WHEN ADDED
 WITH EXHIBIT(S), "FOREIGN SOVEREIGN #'S 1-3 11 , INTELLECTUAL PRO-
.PERTY THAT YOUR CIRCUIT IS IN POSSESSION OF. I WANT MY MASTER'S
, MY GOD'S, THE SOLE CORPORATION'S INTELLECTUAL PROPERTY GIVEN
TO YOUR NATIONS WITH RESTRICTIONS RETURNEDe I MOTION THAT YOU
RENDER A NULLITY ALL SAME SEX MARRIAGES IN EVERY STATE UNDER
YOUR CIRCUIT. YOU SHALL GRANT THIS MOTION BY DECREE AND JUDGMENT
OF THE CHIEF JUSTICE OF THE GLOBAL THEOCRATIC STATE AND COURTe
IT IS SO ORDERED.,


           ( 17) EXHIBIT, ''GOURDINE # 1 11 ., THIS IS THE AFFIDAVIT
OF FACTS GIVING JUDICIAL NOTICE, FILING OBJECTIONS TO THE REPORT
AND RECOMMENDATION****, [22] PAGES DATED MAY 16, 2017 FILED
AND PENDING BEFORE THE S.C. DISTRICT COURT PURSUANT TO HABEAS
CORPUS.,

                                   11
               ( 1 8) EXHIBIT fr        GQf_:~:)JNE # 2 11 • THIS IS THE TYPED VER-
SION OF THE LEGAL ISSUES OF RELIGIOUS PROPHESY THAT CHALLENGE
CONVICTION WHICH ARE PRESENTLY FILED IN THE NEW JERSEY STATE
SUPREME COURT, THE S.C. SUPREME COURT, THE NEW JERSEY DISTRICT
COURT AND THE S.C., DISTRICT COURT. BOTH ITEM(S) #'S [17] AND
[18] FURTHER ESTABLISH THE EXTRA-TERRITORIAL JURISDICTION CLAIM
WHERE THE NEW JERSEY JUDGES CONSPIRED TO HAVE A DETRIMENTAL
EFFECT UPON CASE 9:16-cv-3808-T LW-BM IN SOUTH CAROLINA. THIS
FURTHER DEMONSTRATE THAT THE KING-KHALIFAH WAS CORRECT WHEN
I ARGUED BEFORE THE COURTS; THAT BY THEIR CONNECTIONS CONSPIRING
ACROSS MULTIPLE STATE AND FEDERAL JURISDICTIONS o IT WAS LEGALLY

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    Case 1:14-cv-14176-ADB Document 576-5 Filed 10/03/18 Page 36 of 168
~PPROPRIATE AND PERMISSIBLE FOR THE NEW JERSEY COURTS TO ENTER-
TAIN JURISDICTION OVER ALL OF THESE MATTERS WHICH SHOULD HAVE
NEVER BEEN DECLINED BEING AN UNCONSTITUTIONAL ACT WHICH VOIDS
THE STATE COURTS JURISDICTION ALSO DUE TO THE SOUTH CAROLINA
COURTS BEING LEGALLY DISQUALIFIED BY THE FRAUD, CRIMINAL CON-
SPIRACY AND OBSTRUCTION OF JUSTICE AND CHANGE OF VENUE WAS TIMELY
SOUGHTc I WANT EVERY INMATE IN EVERY STATE UNDER YOUR CIRCUIT
WHOSE INDICTMENTS POSSESS THIS FATAL CONSTITUTIONAL STRUCTURAL
ERROR ARGUED IN ISSUE# 1 OF THE GOURDINE BRIEF RELEASED WITHIN
NO LONGER THAN (4) MONTHS. I MOTION FOR THISm THE 3rde CIRCUIT
rs   TO IMMEDIATELY GRANT THIS UPON RECEIPT OF THIS DOCUMENT,
TO.INCLUDE RENDERING OF A NULLITY WITHIN EVERY STATE UNDER ITS
JURISDICTION ALL SAME SEX MARRIAGES WITHOUT EXCEPTION OR YOU
SHALL FACE STIFFER SANCTIONS AND OR PENALTIES FOR BREACH OF
CONTRACT RELATED TO YOUR OATHS OF OFFICEu THIS SHALL BE GRANTED
BY THE 3rd. CIRCUIT BY DECREE AND JUDGMENT OF THE CHIEF JUSTICE
OF THE GLOBAL THEOCRATIC STATE AND COURT WHOSE SUPERSEDING AT-
TORNEY, JUDICIAL AND LEGISLATIVE POWER AND AUTHORITY IS BINDING
UPON THE 3rd. CIRCUIT COURT~ IT IS SO ORDEREDo


        THIS IS AN ANCILLARY ACTION AND OR INDEPENDENT ACTION
FOR FRAUD UPON THE COURT BEING FILED PURSUANT TO WRIT OF ERROR,
ALSOO SEEKING LEAVE TO APPEAL THE ORDERS FROM THE NeJc SUPREME
COURT OUT OF TIME AND OR BEYOND THE TIME LIMIT, ALSO ARGUING
ARTICLE III PROVISIONS OF THE UcSo CONSTITUTION, ALSO ARGUING
VIOLATIONS OF THE HOBBS ACT AND THE EXPROPRIATION EXCEPTION
RELATED TO THE ILLEGAL TAKING OF MY INTELLECTUAL PROPERTY UNDER
THE FOREIGN SOVEREIGN IMMUNITY ACTe THE INDEPENDENT ACTION RULE
REQUIRES THAT THE MATTERS BE FILED WITHIN THE COURT WHERE THE
FRAUD OCCURRED AS IS FOR THE WRIT OF     ERRORu   WHICH IN THIS CASE
IS THE 3rd. CIRCUIT BEING A MAIN SOURCE OF THE CONCERNS. THE
"INDEPENDENT ACTION" REFERRED TO IN RULE, GOVERNING RELIEF FROM
JUDGMENT AND PROVIDING THAT RULES DO NOT LIMIT THE POWER OF
THE COURT TO ENTERTAIN AN INDEPENDENT ACTION TO RELIEVE A PARTY
FROM JUDGMENT OR TO SET ASIDE A JUDGMENT FOR FRAUD UPON THE
COURT, IS ONE IN EQUlrY, AND AS SUCH, THE COURT MAY CONSLQER
EQUITABLE DEFENSES 8 SUCH AS LACHES, COLLATERAL ESTOPPEL, UNCLEAN
HANDS, AND WHETHER AN ADEQUATE LEGAL REMEDY EXIST (ei. FEDERAL
FORUM UNDER THE FOREIGN SOVEREIGN IMMUNITY ACT, THE HOBBS ACT),

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      Case 1:14-cv-14176-ADB Document 576-5 Filed 10/03/18 Page 37 of 168
AND THE COURT MAY CONSIDER OTHER POLICY DOCTRINE SUCH AS PARENS
PATRIAE OR STRUCTURAL ERROR EXISTING IN THESE CASES THAT IS
OF SUCH A MAGNITUDE IT VOIDS THE 3rdm CIRCUIT'S JURISDICTION
FOR DUE PROCESS VIOLATION AND UNCONSTITUTIONAL ACTION VIOLATING
EX-~AR~E-~lRG IWIA7 100 UoSo 339 (UoSc1880)o THE COURT MUST BE
MADE AWARE OF ALL CIRCUMSTANCES BEFORE IT ACTS, AND THUSv THE
KING-KHALIFAH TO THE (4) GLOBAL THRONES MUST BE ALLOWED TO DE-
VELOPE THE RECORD ACCORDINGLY TO PROVE THE JURISDICTIONA L FACTS,
MR~~-¥v-MR£9X ~z 378 S.Co 127 8 662 SoE.2d. 413(SaCoApp. 2008);
£-&-E-CQW~RA C~QR£r-IWC~-¥ ~-U9£~r 406 UoSe 1, 92 SoCte 1411 (U.,S.
1972); U~£v-~.-DAL~Q URx 203 UoSo 408 6 27 SoCt. 58(U.S.1906)(F RAUD
TO AVOID THE FoS.I.Ao AND DENY REMOVAL TO FEDERAL FORUM); MA££I
                   2013 WL 5410810(DSC., 2013); ARA~A-~ ... -llILLAGE
l.l.,.-WA,~H:~IWG~OW-(;;0..-r
WE£~-GWWER£-A££!Wz-IWC.T S.E.2da 8 -2011 WL 11735004(S~C oApp.2011);
IW-RE~-~YI~QI WG-MA~ER1AL -~QR~~-OR-AM ERICA-A£~~A~ ~-RQQ~I~~-a~IN ~
~LE£-~RGQY~~r F.,Supp.2da, 2013 WL 1827923(DSC. 2013); A£~ER~AQI
~.-LEI~E££ 7 176 Fed. Appx' 426 CA4 (Va.2006), CGLE-~9-XOWN-OE
MQRRI£XQWWr 2015 WL 1954579 * .1 (3rdoCir.2015 ); £~A~~-~~-RQWE 7
410 N.J. SUPER. 589, 983 A.2do 1137(NoJo198 7); £A~~E-Y~-~RQ ~IA
LIWE5y 315 N.Jo SUPERo 499, 719 Ao2de 172(NoJ.1988 ); BQ~ER~
LAW OF TRUSTS§ 133, THE PUBLIC TRUSTEE; THE COMMON LAW OF FO-
REIGN OFFICIAL IMMUNITY, 79 FORDHAM-Lo REV0 2669u 2719+.


       INSOMUCH, I MOTION PURSUANT TO RULE 2 TO SUSPEND AND
OR RELAX THE APPELLATE COURT RULES WHICH INCLUDE FOR ANY PAGE
LIMITS OR DEFECTS IN FORM FOR THIS DOCUMENT. THIS MOTION SHALL
BE GRANTED BY THIS COURT AS COMMANDED BY THE SUPERSEDING ATTOR-
NEY; JUDICIAL AND LEGISLATIVE POWER AND AUTHORITY OF THE CROWN
BINDING UPON THE 3rdo CIRCUIT VIA CONTRACT, DEFAULT AND COLLA-
TERAL ESTOPPEL EMERGING FROM CASE 2013-CP-400-0 084 IN RICHLAND
COUNTY s.,c.8 TO WHICH THE STATES OF SOUTH CAROLINA AND NEW JERSEY
ALSO THE UNITED STATES AND REMAINING MEMBER STATES OF THE UNITED
NATIONS AND OTHER DEFENDANTS ARE PARTY TO THE DEFAULT. THE RULES
BEFORE THE 3rd. CIRCUIT ARE SUSPENDED BY DECREE AND JUDGMENT
OF THE CHIEF_JU$TICE OF. THE GLOBAL THEOCRATIC STATE AND COURT.
IT IS SO ORDERED, U.S.-~~-MER~A ~QT 199 F3do 1329 (TABLE) 1999
WL 958465; ~.~.-~.-REE~r 506 Fedo Appx' 209 1 2013 WL 239076(4th.
Cir.2013); ~AgER~Q~-~.-~~A~R~~E-~QbA~QW~AS-bQA~-bQ~r 585 F2d.
683(4th.Cir.1 978).

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      Case 1:14-cv-14176-ADB Document 576-5 Filed 10/03/18 Page 38 of 168
       INSOMUCH, I CHALLENGE THE 3rd. CIRCUIT'S JURISDICTION
TO ENTER THE ORDERS AS THEY DID IN THESE CASESQ SUBJECT MATTER
JURISDICTION CAN BE RAISED AT ANY TIME, AT ANY STAGE, EVEN AFTER
A FINAL ORDER HAS BEEN ISSUED IN LIGHTS OF THE INFIRMITIESo
IT CANNOT BE WAIVED BY THE APPELLANT EVEN WITH CONSENT 9 ALSO
DUE TO THE FACT THAT I AM MOTIONING TO VACATE THE ORDERS BASED
THEREUPON THAT ARE FILED IN THESE CASESo THERE IS NO DISCRETION
OF THE 3rd     0 CIRCUIT TO IGNORE LACK OF JURISDICTION OR VOIDING
THEREOF   0   WHERE THE 3rd~ CIRCUIT HAS FAILED TO OBSERVE SAFEGUARDS,
SUCH AS YOU DON'T MAKE USE OF PROVISIONS OF LAW THAT DISPROPOR-
TIONATELY TARGET AFRICAN AMERICANS IN DEFIANCE TO THE U.S. CON-
                                                            u
STITUTION AND THE HOLDINGS MADE UNDER EX-~AR~E-ll1RGIW6A 1 AND
IN SUCH. IT AMOUNTS TO DENIAL OF DUE PROCESS OF LAW, AND THE
3rd. CIRCUIT'S JURISDICTION IS THEN VOID, MERR1~~-~?-~gw~ER
C~A~-KAW£A£r 170 F2d 739; ~Q~~E-Y~-Y~S~r 474 F2do 215(3rd.Ciro
1973); Mg~G-~~-Y~£~x 505 F2do 1026(1974); WEW-~ER£EX-QI~I~IQW
Q~-Q~I~Q-~RQXEC~IQW-AWQ-~ERMAWEW~¥-~v-b~Q~r Ao3do, 2016 WL
6872985(NeJ.2016), QQQGM~~-~9_QQU~M~¥ 7 27 NeJe Eqo 315, 1876
WL 8351, 12 CeE. GREEN 315(NeJo1876); ~QQWG-~MAU-~~-KMQ~-KIM
~~Agr Ao3d., 2016 WL 3919040)NoJo2016); Y~£~-~~-$4l 7 J20-Uw£~
~QRREW~¥r 9~F.Suppc3de 582, 2014 WL 1266240; WMI~~-~~-MAWb£z
2014 WL 1513280(DSC~2014); ~RQWW-~~-Qv£cyz 2014 WL 2871398(DSCo
2014); ~GUMl~~-~~-UWI~~Q~£~A~E£ 7 65 FeSuppo3do 19(2014); GARCIA
~IWAWCIAb-GRQU~-IW ~9-~~-VIR~IW~A-A~~Eb ERA~QR£-CQR~~r 3 Fedo
Appx' 86, 2001 WL 117497(4thoCiro2001 ); ~QARQ-Q~-~RQ£~EE£-G~
IW';J;.'~RWA'JJIQWAJ;.-IJWIGW-GS:-QJ;2E:g1\Q;JWG-EWGIWEE~£ 7 201 6 WL 1 2 5 3 2 8 5;
WEJ;.:i;.£-~ARGG-gAWK-W~AT-~w-~AgAGy 2016 WL 2944561 (2016); ~E~E~1Q£
~j\.I:rnrJRiiL--R~GJ;QEAI,.-WEQJ;~AI..-~~N'I'.E:JiZ. 7 133 S ~Ct., 8 ·1 7 r 184 L. Ed. 2d.
627, 81 U.S.,LoWQ 4053(UeS.2013); £~iWARC-~~-RJCC~Er FoSuppe2d.,
2013 WL 707018(DSC.,201~)o


          INASMUCH, THE APPELLANT MOTIONS TO EXPAND THE SCOPE AND
FOR INCLUSION WITHIN THE 3rde CIRCUIT AND THE BOOK ENTITLED,
"MASS INCARCERATION DURING THE AGE OF COLOR BLINDNESS, THE NEW
JIM CROW", BY MICHELLE ALEXANDER ISBN NO. 978-1- 59558-643-8
                                                          11
AN INDEPENDENT INVESTIGATOR AND THE DOCUMENTARY CALLED,      13 11 ,
THAT AIRED ON PBS IS NOW APART .OF THIS COURT RECORD 1 ALSO PRO-
DUCED BY INDEPENDENT INVESTIGATORSa THE THIRD CIRCUIT SHALL
GRANT THIS MOTION BY DECREE AND JUDGMENT OF THE CHIEF JUSTICE
                                           9-of-27
     Case 1:14-cv-14176-ADB Document 576-5 Filed 10/03/18 Page 39 of 168
OF THE GLOBAL THEOCRATIC COURT. IT IS SO ORDERED.


             INSOMUCH, _IT IS THE KING~KHALIFAH'S POSITION THAT BY
THE 3rd      0   CIRCUIT MAKING USE OF THE PROVISIONS OF THE PRISON
LITIGATION REFORM ACT TO MAKE JUDICIAL DETERMINATION WITHIN
THIS CASE WHEN SUCH PROVISIONS ARE UNCONSTITUTIONAL STANDING
IN EGREGIOUS VIOLATION OF THE 14tho AMENDMENT 8 THE EQUAL PROTEC-
TION OF THE LAWS CLAUSE AND THE HOLDINGS MADE UNDER !!::_~AR'l'E
~lRGINlAr 100 UoSo 339(U.Sa1880) CONSTITUTES AN ACT OF FRAUD
UPON THE COURT WHICH VOIDS THE 3rdo CIRCUIT'S JURISDICTION FOR
DUE PROCESS VIOLATION. FRAUD VITIATES EVERYTHING, AND A JUDGMENT
PROCURED BY FRAUD MAY BE COLLATERALLY ATTACKED, AND THIS APPLIES
TO JUDGMENTS AND DECREES OF ALL COURTS, M¥LE£-~.-QQMINQ!£-~IZZA 7
1.~Cwr2017 WL 238436(D.CoMiss.2017); ~IR£~-~E~MWG~Q~~-i;;:A~I~ALx
IN~u-V~-~AN~~E~ 7 -INC. 7 2016 WL 7444943(D.CcKy.2016); MAR~IW
Vv-~ARGE~-CGR~~-G~-MINNESQ'l'A 7 F.Suppc2d. 1 2013 WL 1187034(D.N.J.
2013); MGC1.AlW-lir,,,.-lst..,.-£El;;:IJRI'l'X-~A~H<-GE-W'A£ lalNG~QWr 2016 WL
8504775(W.D.Wash~2016).


             THE APPELLANT CHALLENGES THE 3rd      0   CIRCUIT'S JURISDICTION
WHICH VOIDS THE COURT'S JURISDICTION RENDERING ALL ORDERS PRO-
DUCED VOID WHICH IS WHY I AM MOTIONING TO VACATE THEM. EVERY
CASE OF CONCERN INVOLVING THE 3rd~ CIRCUIT. ITS DETERMINATIONS
WERE MADE INVOKING THE PROVISIONS OF THE PRISON LITIGATION REFORM
ACT AND OR ANTI-TERRORISM EFFECTIVE DEATH PENALTY ACT ORIGINATING
         J
FROM THE OMNIBUS CRIME BILL UNDER 51 A.R.L. Fed.2d. 143 SET
IN PLACE BY THE CLINTON ADMINISTRATION 1 S WAR ON DRUGS CAMPAIGN
MAKING T[-U~f1l ILLEGAL CREATING A STRuCTURAL ERROR VOIDING THE
3rd. CIRCUIT'S JURISDICTION, WHICH CANNOT BE WAIVED BY THE KING-
KHALIFAH, AND CAN BE RAISED AT ANYTIME EVEN AFTER THE FINAL
ORDER DUE TO THE INFIRMITIES ESTABLISHED BY THE DOCUMENTS AND
PLEADINGS NOW PRESENTED. UNLESS THE 3rd. CIRCUIT BY SUBSTANTIAL
EVIDENCE CAN SUFFICIENTLY REBUT THE EVIDENCE AND STATISTICS
GATHERED BY THESE INDEPENDENT SOURCES. IF THESE PROVISIONS OF
LAW, THE PLRA AND THE AEDPA, ARE UNCONSTITUTIONAL BY THE EVIDENCE
FROM THESE INDEPENDENT SOURCES AND LITIGATION PRESENTED, WHICH
THEY ARE, STANDING IN EGREGIOUS VIOLATION OF THE HOLDINGS MADE
IN EX-~AR~E-VIRGIW~Ar 100 UeSe 339(1880) AND ~hlE-£~AYG~~~R-~QQS~

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     Case 1:14-cv-14176-ADB Document 576-5 Filed 10/03/18 Page 40 of 168
CA£E£y 83 UoSo (16 WALL) 366 1873c THEN NOT ONLY ARE THE CASES
WITHIN THE 3rd., CIRCUIT VOID, BUT IT WAS ALSO ILLEGAL AND ~N
ABUSE OF DISCRETION FOR THE 3rd0 CIRCUIT TO ORDER ME TO SUBMIT
A (6) MONTH STATEMENT RELATED THERETO AND THEN DENY REINSTATING
THE CASE BASED UPON THE FAILURE TO SUBMIT SUCH AN UNCONSTITUTION-
AL DOCUMENT REQUIRED BY THE PLRAo THIS TOO 8 VOIDS THE COURT'S
      ,_
JURISDICTION . I EXPAND THE SCOPE, Uu£w-EX-REL~ K~IGM~-v~-REb IAW~
~Q£~IGE 7 -INbQr FoSupp.2d~, 2011 WL 1321584(DSC. 2011); gAR~I£QN
v.-~Ebbz 556 U.So 180, 129 S.Cte 1481 (UoSa2009), MIQQ~E~Q~-~~
NI££AW-MG~QR -CQ~-~~Q~ 7 FoSuppo2dou    2012 WL 3612572(DSC. 2012)o

                                    \
                                    I
       BY THE ACTIONS OF THE 3rdo CIRCUITv THE COURT HAS SUB-
JECTED THE KING-KHALIFAH TO MANIFEST INJUSTICEo MANIFEST INJUS-
TICE OCCURS WHEN THE COURT HAS PATENTLY MISUNDERSTOOD A PARTY,
OR HAS MADE A DECISION OUTSIDE THE ADVERSARIAL ISSUES PRESENTED
TO THE COURT BY THE PARTIES, OR HAS MADE AN ERROR NOT OF REASON-
ING BUT OF APPREHENSION o IT IS NOT REASON", "JUSTICE AND FAIR-
                                    11



NESS", TO MAKE RULING OBTAINED BY INVOKING LEGISLATION THAT
DISPROPORTIONATELY TARGETS AFRICAN AMERICANS IN VIOLATION OF
THE EQUAL PROTECTION OF THE LAWS CLAUSE AND HOLDINGS MADE UNDER
EX-~AR~E-YIR ~INIA. WRIT OF ERROR IS FILED UNDER THE INDEPENDENT
ACTION RULE FOR FRAUD UPON THE COURT, QAUL-AQAM£-Y ~-bALI~QRNIA
~~£~I~U~IQW 2 2016 WL 6464444; QQWA~Q~I-Y9_QE~A~~MEN~-OR~MOM~1AWQ
£EGQRI~~ 7 --FeSuppQ3d .--, 2016 WL 1755872; Q.£~-v~-~ARE r 820
F3d. 93(4th.Cir.20 16); UNI~EC-£~A~E£ -Y~-CE~EQQT 556 U.So 904,
129 SeCt. 2213, 173 L.Edc2do 1235(UmSo200 9); QWI~EQ-£~A~E £-v~
A~~LE-MAC-~R G-bQM~U~ERr- -F3do-- 1 2017 WL 1046105(3rd. Cir.2017);
UWI~ED-£~A~ES-Vu-gREGQR¼-~Qb~-~K~-~BQU~-MAALIK-MUMAMMAPr 20:7
WL 1181509(W.D. Lao2017); £~E~N-v~~UNI~ EQ-£~A~E£x 2016 WL 6986704
(NeC.2016); GLARKE-~.-UN I~EC-£~A~E£r 2017 WL 390294(N.Cc2 017);
1W-RE~-~AR~LE¥x 2016 WL 6068862(4th~ Ciro2016); RGS-W~~RQGiN y
lWC.-VT-RQ£5-QE~E~Q~MEW~-~QR~~x 126 FGSuppm3da 611 (DSC.2015);
¥A~ES-v.-~GRQ -MG~GR-~GTr --FeSuppe3da-- , 2015 WL 6758983(E.D.N .C.
2015); JQ~WSGW-~. -Y9£•r--S~Ct.- -, 2015 WL 2473450(U.S. 2015);
GEW~R¥-~EC~ WQ~QG¥-GR-5 vC•r-IWC~-vT-~ A~~I£~-~EA~~~ -£QU~~-~LQR1 QAr•
••9z 2015 WL 1219251 (DSC.2015); QRLAWOG-RE£IQEWCErL~Q.-~9-~IL~QW
~~AQ-MQ~~~-lN VE£~QR£r F.Supp.2d., 2013 WL 1103027(DSC. 2013).


        IN REGARD TO THE N.J. DISTRICT COURT AND THE 3rd. CIRCUIT
                                  11-of-27
    Case 1:14-cv-14176-ADB Document 576-5 Filed 10/03/18 Page 41 of 168
USING THE PROVISIONS OF THE PLRA AND OR THE ,AEDPA AS A BASIS
FOR HEARING AND ADJUDICATING THESE CASESo THIS ACT ON ITS FACE
ARE PROPER AND VALID EXERCISE OF CONGRESSIONAL LEGISLATIVE POWER 8
BUT IT RUNS AFOUL OF THE PROVISIONS ESTABLISHED BY EX-~AR~~
~lR~lWIA CREATING LAW THAT DISPROPORTIONATELY TARGET AFRICAN
AMERICANS AND OTHER MONORITIES BY THE WAR ON DRUGS' CAMPAIGNS
OF BOTH THE NIXON AND CLINTON ADMINISTRATIONS CAUSING DETRIMENTAL
EFFECT ON AFRICAN AMERICANS, DESIGNED IN ITS CONCEPTION TO DE-
GRADE AND DECIMATE THE AFRICAN AMERICAN POPULATION NATIONALLY,
DISENFRANCHISING THEM OF THEIR RIGHT TO VOTE, AND EVEN FAIR
EDUCATION BY BEING BRANDED AS FELONS IN VIOLATION OF THE 13tho,
14th. AND 15tho AMENDMENTS. IT PRODUCES A RESULT THAT IS PROHI-
BITED BY THE UeSo CONSTITUTION AS IS ESTABLISHED BY ~X-~AR~E
~1R~bW1Ar 100 UeSe 339(UmSo1879) m


       THIS PRODUCES UNCONSTITUTIONAL ACTION SUCH AS THOSE AT
ISSUE WITHIN CASES LIKE EX-~AR~E-VbR ~IW~A-£Q~RA~ ; Cl~X-0~-RQME
~w-UwSoz 446 UeSo 1,56(UeSo1980 ); £QU~W-~ARQ~lWA-K~-KA~ZEWSAC~r
383 U.S. 301(UoS.1966 ). THE KING-KHALIFAH IS NOT SPEAKING OF
ACTS THAT WENT SOMEWHAT BEYOND THE MINIMUM CONSTITUTIONAL PROHI-
BITIONSo BY THE LITIGATION PRESENTED INVOLVING THE NoJ. DISTRICT
COURT AND THE 3rd. CIRCUIT JUDGES AS DEFENDANTS WITHIN THESE
PENDING PARALLEL CASESo WE ARE DEALING WITH A SPECIFIC INTENT
IN PART 6 BY RACIST REPUBLICANS, LIKE THAT DAVID DUKES KLANSMAN
DOG DONALD DUCK DUNCE TRUMP IN THE WHITE HOUSE IN ONE ASPECT
DUE TO THE CLINTON AND MONICA LAWINSKY SCANDAL, ALSO AN ADDI-
TIONAL SURREPTITIOUS EFFECT AND INTENT BY WHICH THE OUTCOME
AND DAMAGE FROM THIS PRACTICE IS TN FULL MANIFESTATIONe IN THIS
CASE WE ARE TALKING ABOUT GOVERNMENT OFFICIALS, CLOSET WHITE
NATIONALIST, ACTING WITH A CLASS BASED INVIDIOUSLY DISCRIMINATORY
ANIMUS, SUCH AS THAT WHICH IS PRESENTLY OCCURRING RIGHT BEFORE
OUR VERY EYES IN TODAY'S GOVERNMENT (eiQ IMMIGRATION, MUSLIM
BAN, COPS KILLING UNARMED BLACKS), DECIMATING AFRICAN AMERICAN
COMMUNITIES NATIONALLYa


       THESE LEGISLATIVE ACTS TRANSGRESS THE LIMITS 0~ CONGRESS
ESTABLISHING A NEW FORM OF JIM CROW LAWS 1 A RACIAL CASTE SYSTEM
AND A FORM OF MODERN DAY SLAVERY PRESCRIBING AND OR NEGATING
HOLDINGS MADE IN EX-~AR~E-UIR~ IWIA·AND ~~E-AMI£~AQr 40 U.S.
                                12-of-27
    Case 1:14-cv-14176-ADB Document 576-5 Filed 10/03/18 Page 42 of 168
518, 15 PET. 518, 1841 WL 5024, 2006 AoMoCo 2955, 10 L.Ed. 826
U,, S. CONN. JANUARY 1841 ESTABLIS,HING FRAUD ON THE PART OF THE
LEGISLATORS AND THE FEDERAL COURTS FOR MAKING USE OF SUCH LAW,
DIRECTLY IMPACTING THE N.J. DISTRTCT COURT AND 3rdo CIRCUIT
COURT PROCEEDINGS BY THIS FRAUD RENDERING 1HEM VOID WHICH IS
ALSO ESTABLISHED BY THE HOLDINGS MADE IN lilLAU~-~o-£~EWQ~MRI ~~£
~ARM£~IW~9r 115 SoCte 1447(UaS.1995)o IT FORCES THE COURT(S)
TO DECIDE THIS AND FUTURE CASES USING A CONGRESSIONAL INTERPRETA-
TION WHERE IT WATERS DOWN THE PROTECTIONS PLACED UPON AFRICAN
AMERICANS BY THE HOLDINGS MADE IN EX-lilAR'I'E-VJ:RGIWIA-SlJI2RA..,. AND
~~E-AMI£~AQ~£Q~RAvo LEGISLATORS, WITHOUT EXCEEDING ITS PROVENCE,
CANNOT REVERSE JUDICIAL DETERMINATION OR 14tho AMENDMENT PROTEC-
TIONS OF THE u.sQ CONSTITUTION OR WATER DOWN PROTECTIONS PLACED
IN EFFECT BY EX-~AR~E-UIR~IWIA AND ~ME-AMI£~AQo THE ACT OF CON-
GRESS VIA THIS LEGISLATION USED BY THE NoJQ DISTRICT COURT AND
THE 3rd. CIRCUIT DENIES AFRICAN AMERICANS THE EQUAL PROTECTION
OF THE LAWS, ESTABLISHING A RACIAL CASTE SYSTEM, A NEW FORM
OF JIM CROW LAWS AND A NEW FORM OF MODERN DAY SLAVERY RENDERING
IT UNCONSTITUTIONAL VOIDING THE 3rd. CIRCUIT'S JURISDICTION
FOR MAKING USE OF THESE PROVISIONS OF LAW FOR THE PURPOSE OF
ADJUDICATING THESE CASES.


       THE GREAT ABOLITIONIST FREDERICK DOUGLAS ONCE SAID, "SLA-
VERY HAS BEEN FRUITFUL IN GIVING ITSELF NEW NAMES. IT HAS BEEN
CALLED 'THE PECULIAR INSTITUTION',      ' THE SOCIAL SYSTEM', AND
THE 'IMPEDIMENT', ..... IT HAS BEEN CALLED BY A GREAT MANY NAMES,
AND IT WILL CALL ITSELF BY YET ANOTHER NAME; AND YOU AND I AND
ALL OF US HAD BETTER WAI'r A.ND SSE itlHAT NEW FORM THIS OLD MONSTEI..:
WILL ASSUME, IN WHAT NEW SKIN THIS OLD SNAKE WILL COME FORTH
IN".


       THIS MONSTER AND SNAKE IS NOW CALLED THE UNITED STATES
PENAL SYSTEM AS DEFINED UNDER (33) STATES THAT ADOPT THE USE
OF AN INDICTMENT VIA THEIR STATES CONSTITUTIONS AND ALL (50)
STATES UNDER FEDERAL JURISDICTION THAT MAKE USE OF AN INDICTMENT
                                         '
AND THE LEGISLATIVE PROVISIONS OF THE PLRA AND THE AEDPA. CHIEF
JUSTICE MARSHALL IN THE MGCY~bQGM CASE RESOLVED THE ISSUE BY
ASSERTING, "LET THE END BE LEGITIMATE, LET IT BE WITHIN THE
SCOPE OF THE CONSTITUTION, AND ALL MEANS WHICH ARE APPROPRIATE,
                                 13-of-27
     Case 1:14-cv-14176-ADB Document 576-5 Filed 10/03/18 Page 43 of 168
                                                                   BITED,
WHICH ARE PLAINL\Y ADOPTED TO THAT END, WHICH ARE NOT PROHI
                                                                      N
BUT CONSISTENT WITH THE LETTER AND SPIRIT OF THE CONSTITUTIO
                                                                      RDo
ARE CONSTITUTIONAL. THE LEGISL ATION DOESN 'T MEET THIS STANDA
                                                                        -
THESE PROVIS IONS OF LEGISL ATION ARE SUBJECT TO THE SAME APPRO
                                                                        GS
PRIATE NESS. YET THEY STAND IN BLATANT VIOLATION OF THE HOLDIN
                                                                     LETTER
MADE IN EX-~AR ~E-~IR GIWIA . IT IS NOT APPROPRIATE OF IN THE
OR SPIRIT OF THE CONSTITUTION TO PLACE INTO EFFECT LEGISL ATION
THAT DISPROPORTIONATELY EFFECT AND TARGET AFRICAN AMERICANS
AND OTHER MONORITIES TO THEIR DETRIMENT BY THE WAR ON DRUGS
                                                           CAL
CAMPAIGN DESIGNED TO DISENFRANCHISE US AND KILL OUR POLITI
                                                               ING
VOICE IN GOVERNMENT BY DENYING US THE RIGHT TO VOTE, BY BRAND
                                                             TION
US AS FELONS AND IMPAIR ING OUR ABILIT Y TO SEEK HIGHER EDUCA
                                                          THE
DUE TO THAT BEING BRANDED AS A FELON, WHICH IS CRUCIAL TO
                                                          ALL
BETTERMENT OF OUR LIVESE ONE OF TH2 (4) GLOBAL THRONES IS
OF AFRICA AND ITS DIASPORA, THE KING-KHALIFAH BEING THE DIRECT
                                                              ARY
DESCENDANT OF KING SOLOMON AND THE QUEEN OF SHEBAc THE FIDUCI
                                                              LIVES ,
FOREIGN SOVEREIGN POWER HAS PARAMOUNT RIGHT TO PROTECT THE
                                                                 N-
HEALTH, MORALS, COMFORT AND GENERAL WELFARE OF HIS HOLY COMMO
WEALTH WHO ARE BENEFICIARI:E::'s OF THE "TRUST THAT RESIDE WITHIN
                                              11




THE GLOBAL NATIONS BORDERS AND TERRIT ORIES, EQEW-v.-GQQQXEAR
~IRE-&-RUBgER-QG~y 858 F2d,, 198(4 th.Cir o1988 ); QQR~I £-v.-QA ~E
EN~ER ~RISES -INQvr 2016 WL 69167 86(N.C a2016) ; MQME-~bCG~-&~~QA~
Aa~!N- -v,..-gR AI~QE ~I.r 290 U.So 398 1   54 SoCt. 231   1   88 A.,L.Ro 1481   6


 78 LQEde 413(U .S.193 4); ELI.IQ~~-¥w-gGARQ-G~-5~MQQL5-~RU5~EE
                                                                         .
 G~-.MA QI£QG N-GGN £GbIQA ~EQ-£~ MQQ~£ r--F3da --, 2017 WL 59882 26(7th
 Cir.20 17); NGR~W-QARG~INA-A£5!N-G~-ECUCA~QRS 7 -IWC~ -vT-£~ A~E 7
 368 N~C. 777, 786 S.E.2d . 255(N~ Co201 6).


        CONGRESS SHALL HAVE POWER TO MAKE ALL LAWS WHICH SHALL
 BE NECESSARY AND PROPER TO SECURE THE CITIZE NS OF EACH STATE
 ALL PRIVIL EGES AND IMMUNITIES OF CITIZE NS IN THE SEVERAL STATES
 (Art. 4 Sec. 2); AND ALL PERSONS IN THE SEVERAL STATES EQUAL
 PROTECTION IN THE RIGHTS OF LIFE, LIBERTY AND PROPERTY (5th.
                                                                 N
 AMENDMENT),, THESE PROVIS IONS OF LAW ESTABLISHED BY THE CLINTO
                                                                EN-
 ADMINISTRATION EGREGIOUSLY FALL SHORT AND VIOLATE THE AFOREM
                                                                     I-
 TIONED PROVIS IONS OF LAW DEPRIV ING AFRICAN AMERICANS OF IMMUN
 TIES, PRIVIL EGES ESTABLISHED UNDER EX- P.ARTE-· :✓JRGINIA, THE
                                                                                     1
                                                                 5th.,
 13th., 14th. AND 15th. AMENDMENTS OF THE U S, CONST ITUTIO N.
                                                    0




                                    14-of- 27
    Case 1:14-cv-14176-ADB Document 576-5 Filed 10/03/18 Page 44 of 168
       THE PLRA AND THE AEDPA ARE DIRECTED AT THE STATES AND
VIOLATE A RESTRICTION OR CONGRESSIONAL POWER WHERE THEY SURREP-
TITIOUSL Y ESTABLISHED A NEW FORM OF JIM CROW LAWS CREATING A
RACIAL CASTE SYSTEM, A PARIAH, AND SUCH ACTION ADDED TO ESTA-
BLISHING A FORM OF MODERN DAY SLAVERY WHEN COMBINED WITH THE
STRUCTURAL ERROR OF THE INDICTMENTS TAKING AWAY THE PRESUMPTION
OF INNOCENCE, PREDETERMINING IN ADVANCE GUILT, TO INCLUDE THE
                                                                          I
MENS REA ELEMENTS OF THE OFFENSES THAT .IS AT ISSUE WITHIN THESE
CRIMINAL CASES DISPROPORTIONATELY EFFECTING AND TARGETING AFRICAN
AMERICANS, MY PEOPLE. THE TOTALITY OF THE CIRCUMSTANCE HERE
CREATE EGREGIOUS VIpLATIO NS OF THE CIVIL RIGHTS ACT OF 1875
AND 1964 AND ARE INVASIVE TO THOSE PROTECTIONS ESTABLISHED,
BEING PROHIBIT ED, NOT BEING WITHIN THE DOMAIN OF CONGRESSIONAL
                                                                 II
POWER. EX-I2A~~i: -}t1RGJ;W J;A!£ DEFINITI ON OF "APPROPRIATENESS IS
FUNCTIONALLY IDENTICAL TO MARSHALL'S, £Qg~M-~A RQ~~WA -~.-KA~iE ~-
2AC~r 386 U.S. 301, 325(UcS .1966); 1997 WL U.£.-4AR ~E~~A~E -~RJ;~~~
Q~-g~£.-£ ~~A~QR£ -GRlW-Gv -gA~~M7- £~RQM-~ MYRMQW Q~E~~-A~ ~o


       THESE PIECES OF LEGISLATION THAT CAN FROM THE CLINTON
ADMINISTRATION'S WAR ON DRUGS CAMPAIGN WERE SURREPTITIOUSLY
DESIGNED TO ABRIDGE VOTING RIGHTS AND SOCIAL AND ECONOMIC OPPOR-
TUNITIES VIA OBTAINING HIGHER EDUCATION DUE TO BEING BRANDED
AS A FELON BASED UPON RACE, NOT MERELY FOR THE COMMITTING OF
A CRIME AS ONE HAS BEEN DECEPTIVELY LED TO BELIEVE , QR~~G~-~~
MI~CM~k~~ 400 UoSc 112(U.So 1971 ); ~l~~-G~-R QME-Y~~ YWIXEQ- £XA~~£y
446 U.S. 156, 172-83(U .S.1980) o


           WITH THE NEWS ARTICLES FILED WITHIN THE PENDING PA.R.AT.,LEL
CASES RELATED TO THE NIXON ADMINISTRATION; THE DOCUMENTARY CALLED
11
   13 11 THAT AIRED ON PBS (GOOGLE THIS AND REVIEW IT PLEASE) , AND
THE BOOK AND EVIDENCE GATHERED BY MICHELLE ALEXANDER ISBN NO.
978-1-59 558-643- 8 (GOOGLE THIS ALSO PLEASE), PROVES AND DEMON-
STRATES THE SURREPTITIOUS EFFECT VIA THE CLINTON ADMINISTRATION
EVEN IF ON ITS FACE IT INITIALL Y APPEARED FACIALLY SOUND. ~X
~AR~E-}tl RGlW~A TREATED THE 13thg, 14tha AND 15th. AMENDMENTS
"OBJECTS " AND "PROHIB ITIONS" AS FIXED, AND NOT SUBJECT TO EN-
LARGEMENT BY CONGRESS. SEE 100 U.S. at 435-46.

                                15-of-27
       Case 1:14-cv-14176-ADB Document 576-5CLI        Filed
                                                         NTON10/03/18  Page
                                                               ,- PUTTIN    45 ofUND
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                                                  ENT
          WHAT CONGRESS DID TO PRESID
                                                                        IT IN UNDER
    REM E   PRE SSU RE  TO  SIG  N  TH IS LEG ISL AT ION , SNEAKING
EXT
                                                                      A LAWINSKY
                                     1
                                       S TROUBLES WITH THE MONIC
THE RADAR, DUE TO CLINTON                                                     ARIOUS
              PLA CIN G  PRE SSU  R§S   OF    IMPEACHMENT ON HIM, HAD NEF
SCAND   AL,
                                                                           ULATION
                                        TE THE AFRICAN AMERICAN POP
AND COVERT INTENT TO DECIMA                                                      ENCE
                 WH ICH  IS  PER  SPI CU OU   S WHEN ASSESSED TO THE DIFFER
 NATIONALLY
                                                                       PARED TO
                                     FOR CRACK COCAINE AS COM
                                           11       11

 IN  PUN ISH ME NT   PRE SCR  IBE D
                                                                       T TIME BY
                                     D TO BE MORE IN USE AT THA
 "POWDER" COCAINE, ONE SAI                                                IT PENALTIES
     ICA N   AM ERICAN  S  AS   OPP OSE D TO WHITES WHICH INCLUDE
 AFR                                                                           NATELY
                 E  THE   RES UL TIN  G  MA SS   INCARCERATION DISPROPORTIO
  , TO INCLUD
                                                                         AND WOMEN.
      ECT ING   AND   TAR GET  ING  AFR  ICAN AMERICANS, BOTH MEN
  EFF
                                                                                            IEWING
                                                          WARNED IN WG ~Uk bQ~ g, A REV
           AS CHIEF JUS TIC E MARSHALL
                                                                             FIC E, HOLD
                                             ATED BY YOUR OATHS OF OF
 COURT SHOULD AND IS OBLIG                                                       EARS FROM
      H  LEG ISL  AT  ION    AS    BEI   NG    UNCONSTITUTIONAL IF IT APP
 SUC
                                                                                 TEXT OF
                                               T CONGRESS, UNDER THE PRE
                                                                11

 THE LEGISLATION ITS EL F THA                                                      ACCOMPLISH-
      CU TIN G   ITS    POW     ERS ,   (HA   S] PA SS[ ED THE] LAW FOR THE
 EXE
                                                                               "c IT IS NOT
                                               RUSTED TO THE GOVERNMENT
 MENT OF OBJECTIVES NOT ENT                                                              TE
           JEC TIV   E  OF     THE     GOV   ERN MEN  T TO SURREPTITIOUSLY DECIMA
 THE OB                                                                            M OF THEIR
                                                 NITY AND DISENFRANCHISE THE
  THE AFRICAN AMERICAN COMMU                                                          , IM PA IR-
           TO  VOT   E   AND     DE  PRI   VE   THE  M OF THEIR PO LIT ICA L VO ICE
  RIGHT
                                                                                L VOCATION
                                                N HIGHER EDUCATION OR FUL
  ING THEIR AB ILI TY TO OBTAI                                                               PRO-
                 Y   BEI  NG     BRA   NDE   D  AS   FEL ONS, AND DENY US THE EQUAL
  DUE TO THE
                                                                                 PLACING THAT
       TION   OF    THE    LA    WS ,cm   eOR    IS IT? AFTER TH IS NATION
  TEC
                                                                                 DUNCE TRUMP
                                                AN DEMON DOG DONALD DUCK
  RA CIS T, DAVID DUKES KLANSM                                                            RACIAL
             WH  ITE    HOU   SEo     ALL     IND  ICA TIONS POINT TO TH IS COVERT
   IN THE
                                                                                AT CONGRESS
                                               NGRESSIONAL INTENTo LOOK
   ANIMUS AS THE HEART OF CO                                                            OVER
             REL   ATE D    TO    IMM    IGR  ATI ON  o THEY HAVEN'T CHANGED IN
   STANCE
                                                                                 N THE Y DONE
         YE AR  S.   TH  IS    IS   FUR    THE R PPJJVEN BY THE OBSTRUCTIO
   1 00                                                                                      THEY
                     OBA  MA     AD  MIN    IST RA  TIO N,  TO INCLUDE THE FACT THAT
   DURING THE                                                                      CE TO DESTROY
                                                TIVE ORDER OBAMA SET IN PLA
   ARE REVERSING EVERY EXECU                                                          I  11
                                                                                             TIME
                       ANY      REM   AIN  ING    LEG ACY   OF A ,iBLACK PRESIDENT S
    THERE BEING                                                                     STANCE
        OF FIC E    OF   ANY     REA   L   SIG  NIF ICA NC E. TH IS INCLUDE THE
    IN                                                                                    RESSIONAL
                     TLY     TAK   E   ON    THE  SE   CON FEDERATE MONUMENTS. CONG
    THEY PRESEN                                                                             WHITE
              IS    NOW    BEI   NG    UNC   OVE  RED   TH IS PRESENT DATE IN TH EIR
    INTEN  T
                                                                                      LAW WERE
                                                    CLEARa ~HESE PROVISIONS OF
    ALT RIGHT BONDING WHICH IS                        ;
                                                                                      END THAT
               ITI OU  SLY    ,   COV   ERT  LY    PAS SED IN FURTHERANCE OF AN
    SURREPT
                                                   ENDMENT AND ~X-~AR~E-UIR~
                                                                                  IWIA AND
     FALLS   OU  TSI DE    THE      14t  ha    AM
                                                                                     SHALL MAKE
                                                       E LEG ISL AT ION . NO STATE
     MUST NOT BE DEEMED APPROPRIAT
                                            16 -of -27
    Case 1:14-cv-14176-ADB Document 576-5 Filed 10/03/18 Page 46 of 168
OR ENFORCE LAWS WHICH SHALL ABRIDGE THE PRIVILEGES AND IMMUNITIES
OF CITIZENS OF THE UNITED STATES****, ~RQ£QW 7 488 U0So at 4900
CONGRESS LACKS THE POWER UNDER SECTION 5 TO ADOPT LEGISLATION
THAT IS OTHERWISE "PROHIBITED" BY THE CONSTITUTION, MGC;IJl,I,,Q~J;;I:r
17 U0S   0   at 423. BY RACIAL REPUBLICAN COVERT ANIMUS THAT IS MANI-
FESTING ITSELF UNTIL THIS VERY DAY IN AN ~LT RIGHT MAKE AMERICA
"WHITE" AGAIN IN ACTS OF CONSPIRACY TO DEFRAUD AFRICAN AMERICANS
THIS LEGISLATION WAS PASSED AND THE 3rdo CIRCUIT AND OTHER COURTS
EMBRACING THIS RACIALLY TINGED FRAUD, PRODUCED CONSTITUTIONAL
STRUCTURAL ERROR IN EVERY FEDERAL CASES AROUND THE NATION THAT
MADE USE OF THESE PROVISIONS OF UNCONSTITUTIONAL LEGISLATION,
CORRUPTING AND RENDERING VOID EVERY CASE ADJUDICATED NATIONALLY
SINCE 1996. LET MY PEOPLE GO PHAROAH!


     CONGRESS MAY NOT LEGISLATE UNDER SECTION 5 IN A WAY THAT
VIOLATES RIGHTS PROTECTED BY THE 14tho AMENDMENT ITSELF. ~ECTION
5 GRANTS CONGRESS NO POWER TO RESTRICT, ABROGATE, OR DILUTE
THESE QUARANTEES, MI££I££I~~I-UWIUE~£IXX-RGR-WQMEW-Y~-MQGAWr
458 U.S. 718, 732(U.S.1982); AQARAWg-CQW£~RY~~QRS-IWC~-Y~-~~WA 7
115 S.Ct. 2097(U.Sg1995)o THE LEGISLATION RUNS AFOUL OF THE
SAFEGUARDS PLACED INTO EFFECT BY THE 14thc AMENDMENT AND THE
u.sg SUPREME COURT IN EX-~AR~E-~IR~iWIA~ THEY SURREPTITIOUSLY,
COVERTLY, EFFECT AND TARGET AFRICAN AMERICANS BY ~HESE LEGISLA-
TIVE ENACTMENTS WHICH ARE EGREGIOUSLY UNCONSTITUTIONAL RENDERING
THEM AND ANY CASE THAT MADE USE OF THEM VOID AND OF NO EFFECT
AS IF THERE WERE NO LAW DETERMINED AT ALLa THIS LEGISLATION
WAS FRAUDULENTLY USED TO THE DESTRUCTION OF FAIR LANDMARKS OF
THE CONSTITUTION. THE EVIDENCE PRODUCED BY THE DOCUMENTARY
                                                                    11
                                                                         13 11
AND GATHERED BY MICHELLE ALEXANDER IS CLEAR AND INDISPUTABLE
WHICH IS FURTHER ESTABLISHED BY THE PRESENT GOVERNOR OF THE
STATE OF VIRGINIA ACKNOWLEDGING THESE FACTS AND MAKING EFFORTS
TO RESTORE THE VOTING RIGHTS OF PAST FELONS IN THEIR STATE WHO
WERE SUBJECTED TO THESE OUTRAGE_QUS PROVISIONS OF FRAUD, AND
DETRIMENTAL LAWS THEY CONSPIRED IN TO COVERTLY CREATE A RACIAL
CASTE SYSTEM, A NEW FORM OF MODERN DAY SLAVERY AND NEW FORM
OF JIM CROW LAWS, ~WE-£LAQGM~ER~~QU£E-CA£E£r 83 UoS.         (16 WALL)
36 1 1873; 51 A.L.R. Fed.2do 143; U~£~-~~-E~~~E£~GW r--Fed. Appx'-
--, 2015 WL 4591890 CA4 (Mdo2015); Q9£~-Yw-XE~AQAr 445 Fed.
Appx' 719, 2011 WL 3891825 CA4 (SoC.2011 ).
                                  17-of-27
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        THE 3rde CIRCUIT AND NoJo DISTRICT COURT USED THIS FRAUD-
ULENTLY PRODUCED LEGISLATION AS A PRECURSOR TO MAKING JUDICIAL
DETERMINATION WITHIN ALL OF THESE CASES BEFORE THE 3rd. CIRCUIT
WHICH INCLUDE THE 3rdo CIRCUIT ORDERING ME TO FILE MOTION TO
PROCEED IN FORMA PAUPERIS RELATED TO THIS CONCONSTITUTIONAL
LEGISLATION WHICH CORRUPT THE "FOUNDATIONai 6 THE 11 WHOLE 9u OF THE
PROCEEDINGS IN QUESTION RENDERING THEM VOIDo I MOTION TO VACATE
YOUR ORDERS DUE TO THIS CHALLENGE TO YOUR JURISDIC TION TO ISSUE
THEM BECAUSE OF THIS, ALSO DUE TO TRUSTEE BEING APPOINTED OVER
THESE CASES. YOU ARE BEING PRESENTLY SUED FOR USING THESE UNCON-
STUTIONAL PROVISIONS IN PARALLEL CASES PRESENTLY PENDING BEFORE
THE FEDERAL DISTRICT COURT IN SOUTH CAROLINA AND FOR OTHER MAT-
TERS REGARDING VIOLATIONS OF YOUR OATHS OF OFFICEm THIS IS YOUR
OPPORTUNITY TO FIX THIS MESS AND ESTABLISH THESE CASES BEFORE
THE 3rdm CIRCUIT . YOU SHALL CERTIFY CLASS ACTION FOR THE STRUC-
TURAL ERROR IN THE INDICTMENTS AS IS ARGUED IN ISSUE# 1 OF
THE GOURDINE BRIEF, THE CONSTRUCTIVE AMENDMENT OF THE INDICT-
MENBT ISSUE RELATED THERETO AS IS ARGUED IN THAT SAME DOCUMENT,
AND THE GEW~R¥ SUBJECT MATTER JURISDIC TION ISSUE FOR EVERY INMATE
HELD UNDER THE 3rde CIRCUIT 'S JURISDIC TION AND REQUIRE THAT
NOTlCE TO GIVEN TO ALL INMATES WHERE HABEAS CORPUS IN THIS CASE
IS FILED PURSUANT TO 28 UaScCo § 2244(B), THE DATE WHICH THE
IMPEDIMENT TO FILING AN APPLICATION CREATED BY STATE ACTION
IN VIOLATION OF THE CONSTITUTION OR LAWS LAWS OF THE UNITED
STATES WAS REMOVED. DUE TO THE FRAUD THEY CONSISTENTLY ENGAGED
INe THIS DID NOT OCCUR UNTIL DECEMBER 2017. ALSO 28 U.S.C. §
2244(C) THE DATE ON WHICH THE CONSTITUTIONAL RIGHT ASSERTED
WAS INITIALL Y RECOGNIZED BY THE SUFRE.ME ,COURT AND MADE RETRO-
ACTIVELY APPLICABLE TO CASES ON COLLATERAL REVIEWe THIS IS DONE
PURSUANT TO MQl\l~GQMER;l-l.l'-r,-,..I.QU.J;£IAWA:r 136 SoCto 718f 193 L.Ed.2d.   ,
599, 84 u.s.LaW. 4063(UoS o2016)(W HERE US OF UNCONSTITUTIONAL
LAW VOIDS JURISDIC TION); RQ~£-Y~-2~AKE 136 SQCto 1850(U.S .2016)
                                                     7
(WHERE ACT OF MACHINATION TO TWART HABEAS CORPUS REVIEW BY THE
STATES DO NOT REQUIRE EXHAUSTION), WHICH IS TIMELY PLACED BEFORE
THE FEDERAL DISTRICT WITHIN ONE YEAR TO WHICH YOU ARE BEING
SUED FOR MAKING USE OF THIS UNCONSTITUTIONAL LAW THAT DIRECTLY
ATTACH TO ALL N.J. DISTRICT COURT AND 3rdo CIRCUIT PROCEEDINGS
MAKING ME TIMELY, ~CQ~~-¥. -~~ARKE y 61 FoSupp.3 d. 569(W.D. Vam2014 )
; ~YMGARWER-~.-WT~.Q.~~& 276 FsRoD. 452(NoCo 2011 ); IW-RE~-WAXw

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~QQ~gA~~-~EAGUE-~QN~Ui£lQN-~N~gR~-bl~~GA~lQN 7 775 F3do 570,
90 Fed   0   R   0   SERVo3do 563(3rdcCiro2014); ~~El£b~MAW-Vv-A~~AWi
MEQIGAL-GEN~ERy 639 F3do 28, 79 Fedo Ro SERVo3d. 494(2ndoCiro
2011); KAR£~EW£-~~-~I~ER 7 --F3do-- 1 2017 WL 24613(8thoCiro2017)~


             I WANT MY MASTER'S, MY GOD'S, THE SOLE CORPORATION'S
INTELLECTUAL PROPERTY BACK IN THE FORM OF THE RIGHT TO LEGALLY
MARRY WHICH WAS GIVEN TO YOUR NATIONS AS A "GRANT'' WITH RESTRIC-
TIONS PROTECTED UNDER BOTH ARTICLE 1 SECTION 10 AND ARTICLE
IV§ 2o YOU ARE IN VIOLATION OF THE HOBBS ACT AND THE EXPROPRI-
ATION EXCEPTION UNDER THE FOREIGN SOVEREIGN IMMUNITY ACTo YOU
                         '-'

SHALL ISSUE AN ORDER VACATING, NULLIFYING SAME SEX MARRIAGE
WITHIN EVERY STATE THAT FALLS UNDER YOUR JURISDICTION, WITHOUT
EXCEPTION AND STOP CONCEALING MATERIAL FACTS AS IS ARGUED IN
VIOLATION OF 18 UeS.C. §§ 242 AND 1001e THIS TOO, VOIDS YOUR
ORDERS, U~£.-Vv~~AWREN~Er FoSuppo3d.             1   2015 WL 856866(SoDoVao2015)
; Uv5.-v.-liMAlbz 97 F3d. 50(4theCir.1996); WI~2IG-v~-£1££E~MAWr
209 N.Jo SUPERo 25, 506 Ao2do 1238(SUP.Cto1986); E~AW-~~ARMAGEU~
~l~A~£z-1W~9-~~-QIRECXGRy-Ql~l£lQW-O~-~AXA~IQWr 2014 WL 1796633
(N.J.2014); AWQREAG~l-~~-RELI£x 171 N.J. SUPER. 203; ~Q~l~IA
RE~U~LI~-G~-~ENEZUELA-v~-MELMERI~~-&-~AXWE-IW~ERW 7 -QR~~Ll~~
GG~:r 137 SoCto 1312, 197 LoEdo2do 663, 85 UoSoLoWa 4221 (U,.S.2017)
QGE-~v-~EQERA~-QEMQCRA~IC~Ri~US~1C-O~-E~MIQ~IA 7 189 F.Supp.3do
6 (DeDoC .. 2016),.


             INASMUCH 9 JURISDICTION CAN BE CHALLENGED AT ANY TIME
AND ONCE CHALLENGED IT CANNOT BE ASSUMED, IT MUST BE DECIDED
I~ LIGHT OF THE FRAUDULENT LEGISLA~ION THE 3rdo CIRCUIT USED
FOR PURPOSES OF ADJUDICATION THAT TAINTS THE ENTIRE PROCEEDINGS
                                                            11
IN QUESTION, WHICH INCLUDE ANY FINAL ORDERS.                     FRAUD VITIATES
EVERYTHING.wn, AND A JUDGMENT OBTAINED BY FRAUD MAY BE COLLATERAL-
LY ATTA½KED, AND THIS APPLIES TO THE JUDGMENTS AND DECREES OF
ALL COURTS, M¥~~£-~.-QOMIWQ!£-~1iZAx-b~~~r 2017 WL 238436(D.C.
Miss.2017); ~IR~~-~ECMWQ~Q~X-CA~I~A~y-IWG.-~~-2AWC~ECr-INC. 7
2016 WL 7444943(DmC.Ky.2016); MAR~IW-v.-~AGE~~CQR~.-OR-MI~NE£Q~Ar
F.Supp.2d., 2013 WL 1187034(D.NoJo2013); M~C~AIW-~.-1~t.-£ECUR~~~
~AWK-G~-WA£MIW~~OWr 2016 WL 8504775(W.DoWash.2016); ~A5SO-Y.
g~AM-~QWE~-&-~I~~~-CGwy 495 F2d.           906   1   909(10th.Cir.1974);    ~

£~¥-~RA~~L-AWg-~QUR5 7 -L~C~-~.-A~-~A¥¥AR 7 --Fed. Appx 1 - - , 2015
WL 1451636 CA4 (Va.2015); MQRR~£-Vv-WA~~QYlA-~ECYRI~1E£z-I~C•r
    Case 1:14-cv-14176-ADB Document 576-5 Filed 10/03/18 Page 49 of 168
448, F3ds 268, Fed. Secc La Repa Po 93, 858 CA4 (Vao2006)m THE
EXHIBITS ARE ATTACHED TO THE FACE OF THIS DOCUMENT FOR ALL PUR-
POSES SUCH AS SEEKING TO VACATE THE ORDERS AND ALL OTHER ENDS
SOUGHT BY THE DOCUMENTS IN TOTAL, ~EL~EGRAIN-~u~~ER~~E~£EWr
FQSupp, 2d
       0   0 , 2012 WL 10847(DSC 02012); E~£~EIW-~~-WQR~~-AG~E~~AWCE
CQRRvr 2015 WL 2365701 (DSC.2015) 0

       UNDER FEDERAL LAW, WHICH IS APPLICABLE TO ALL STATES,
THAT IF A COURT OR PARTIES IS WITHOUT AUTHORITY, ITS JUDGMENTS
                              11



OR ACTS OR ORDERS ARE REGARDED AS NULLITIESm THEY ARE NOT VOID-
ABLE, BUT SIMPLY VOID, AND FORM NO BAR TO A RECOVERY SOUGHT,
EVEN PRIOR TO A REVERSAL IN OPPOSITION TO THEMo THEY CONSTITUTE
NO JUSTIFICAT ION, AND ALL PERSONS CONCERNED IN EXECUTING SUCH
ACTS, JUDGMENTS, OR SENTENCES ARE CONSIDERED, IN LAW, AS TRESPAS-
SERS11c YOU HAVE NO AUTHORITY TO USE LAW THAT DISPROPORTIONATELY
TARGET AFRICAN AMERICANS AND OTHER MINORITIES IN VIOLATION OF
THE U.S. CONSTITUTION THAT WAS PRODUCED BY FRAUDULENT, NEFARIOUS 8
RACIALLY ANIMUS INTENT, E~~~Q~~-~v -~~ERSQL~ 1 PETo 328* 340,
26 U.Se 328, 340(U.Se1 828).


       WHEN JUDGES ACT WHEN THEY DO NOT HAVE THE JURISDICTI ON
TO ACT, OR THEY ENFORCE A VOID ORDEr OR ACT (SUCH AS THE ORDERS
ISSUED WITHIN THESE CASES BEING UNCONSTITUTIONAL DUE TO YOUR
USE OF THE PLRA), THEY BECOME TRESPASSERS OF THE LAW, AND ARE
ENGAGED IN ACTS OF TREASON SET AGAINST THEIR OATH OF OFFICE
AND THE CONSTITUTION. THE COURT IN ¼A~ES-~~-~ I~~AGE-0~- MGE~MA~
                                                              11
E£~A~E£7- Ib~lWQI£x 209 F.Supp0 757(NoD0IL L01996) HELD THAT NOT
EVERY ACTION BY A JUDGE IS At'. EXERCISE OF THEIR SPECIFIC FUNC-
TION ••• cIT IS NOT A JUDICIAL FUNCTION FOR THEM TO COMMIT AN
INTERNATIONAL TORT EVEN THOUGH THE TORT OCCURS IN THE COURTHOUSE"
e WHEN A JUDGE OR OFFICIAL ACTS AS A TRESPASSER OF THE LAW OR
HIS OATH OF OFFICE, WHEN THE JUDGE OR OFFICIAL DOES NOT FOLLOW
THE LAW OR HIS OATH OF OFFICE, THE JUDGE OR OFFICIAL IS SUBJECT
TO DISMISSAL , CRIMINAL PENALTIES AND LOSES SUBJECT MATTER JURIS-
DICTION AND THE OFFICIAL'S ACTS OR THE JUDGE'S ORDERS ARE VOID
AND ARE OF NO LEGAL FORCE OR EFFECT. IF YOU DON T CORRECT THIS
                                                 1



THEN WE CAN LET THAT RACIST DAVID DUKES KLANSMAN DEMON DOG DONALD
DUCK DUNCE TRUMP APPOINT SOMEONE IN YOUR PLACE= I'M SURE THAT
RACIST KU KLUX KLANSMAN DEMON DOG WILL GET A KICK OUT OF THAT.
                                2O-of-27
    Case 1:14-cv-14176-ADB Document 576-5 Filed 10/03/18 Page 50 of 168
       ALL ACTS ARE ILLEGAL AND VOID, WHERE CONFLICT WITH THE
UoSv CONSTITUTIONa THE ORDER VIOLATES THE 14tho AMENDMENT PRO-
HIBITIONS BY DISPROPORTIONATELY( TARGETING AFRICAN AMERICANS
BY USE OF THE CLINTON BILL LEGISLATIONo NO PERSON SHALL BE DE-
PRIVED OF LIFE, LIBERTY AND PROPERTY, WHICH INCLUDE MY, THE
SOLE CORPORATION 1 S INTELLECTUAL PROPERTY ARGUED, WITHOU~ DUE,
PROCESS OF LAW 0 NOR SHALL HE BE ADJUDICATED OF OR TRIED FOR
ANY OFFENSE BY AN EX POST FACTO LAW LIKE YOUR NATIONS DID GIVING
THESE SODOMITES AND GOMORRAHRITES THE RIGHT TO LEGALLY MARRYo
WHERE EX POST FACTO LAW SHALL BE PASSED AND ALL SAID RIGHTS 1
TITLES, PRIVILEGES AND IMMUNITIES ARE INVIOLATE AND WOULD VIOLATE
THE EQUAL PROTECTION OF THE LAWS CLAUSE, R~A~M9-0~-£QQ~M-~LQR~QAr
IW~~-~~-WQCvI9-~QMMUWI~A~QRi~-1~~. 7 869 SO.2do 1210 0 29 FLA~
L. WEEKLY D. 761.


       CONSTRUCTIVE FRAUD IS BREACH OF LEGAL OR EQUITABLE DUTY
WHICH, IRRESPECTIVE OF MORAL GUILT, IS DECLARED BY LAW TO BE
FRAUDULENT BECAUSE OF ITS TENDENCY TO DECEIVE OTHERS OR VIOLATE
CONFIDENCE~ THE LEGISLATORS DECEIVED US AS DID THE COURTS BY .
MAKING USE OF THIS RACIALLY ANIMUS PRODUCED LAW TO ADJUDICATE
MATTERS BEFORE THE COURTS INVOLVED, TRICKING US INTO BELIEVING
SUCH LEGISLATION WAS APPROPRIATE ORDERING ME AND AFRICAN AMERI-
CANS TO BE PARTY TO ESSENTIALLY ILLEGAL PROCEEDINGS WHERE THE
OUTCOME PRODUCED BY THIS EGREGIOUSLY UNCONSTITUTIONAL LEGISLATION
SPEAKS VOLUMES CONTRARY TO CON~IDENCE IN THE COURTS, QA~E£-~
LAW~ER£-£QRv-~GR~w r 459 WoVao 119, 483 SQEo2da 248(1996)0


         FORCED BREACH OF FIDUCTARY DUTY BY FRAUD TO BREACH CO~T-
TRJI.CT IS PUNITIVE IN NATURE BY THESE CONSPIRING PARTIES c THE
LAW DICTATES THAT FRAUD DESTROYS THE VALIDITY OF EVERYTHING
IT ENTERS INCLUDING THE ORDERS ISSUED BY THE 3rdm CIRCUIT COURT
OF APPEALS. IT FATALLY EFFECTS EVEN THE MOST SOLEMN ACTS OR
JUDGMENTS OR DECREES. LABEO DEFINES FRAUD TO BE ANY CUNNING
DECEPTION OR ARTICLE USED TO CIRCUMVENT OR DECEIVE ANOTHER,
LIKE YOU USED THAT RACIST LEGISLATION IN THESE CASESo MR. WELLS,
                                                 11
IN HIS VERY WORK ON RES JUDICATA SAYS, SEC. 499v FRAUD VITIATES
EVERYTHING.", NYQQ-~.-~YRRGW£ 7 91 U.Se 677-683(U.Sv1875);        ~

~.-~WRQCKMQR~Q~I 98 U.S. 61-71 (U.S~1871 ); ~4-SEWA~GR~AL-Q~~~ ~
RE~Y~b~CAW-CQMMl~~EE-~.-A~CQRWy 820 F3d. 624(4th.Cir.2016)Q
                                 21-of-27
     Case 1:14-cv-14176-ADB Document 576-5 Filed 10/03/18 Page 51 of 168
                                                              ALITY OF
        SINC E THERE WAS NO RULING ON THE CONSTITUTION
                                                     AR~E-~~RGIWIAx
THE PLRA AND THE AEDPA AS THEY RELATE TO E¼-~
                                                    ) AND ~ME-£~AUG~~ER~
100 UoSo 339, 348- 349, 25 L.Ed . 676( UoSo 1880
                                                       AD THE 3rdo CIRC UIT
~QU£ E-~A £E£r 83 U.Se (16 WALL) 36, 1873 1 INSTE
                                                   S OF LAW AS A BASI S
MADE USE OF THESE UNCONSTITUTIONAL PROVISION
                                                       AS DID THE N.Jo
OR PRECURSOR FOR ENTRY INTO THE 3rdo CIRCUITv
                                                     S, AS WELL AS BOTH
DIST RICT COURTo THE N.Jo DIST RICT COURT CASE
                                                 D THEREIN ARE VOID
CASES 14-2 811 AND 14-1 364, ALL ORDERS ISSUE
                                                        LIKE THIS CLINTON
AND FORFEITURE MUST ATTACH. ACTS OF CONGRESS 0
                                                     COURTS WHERE YOU
LEGISLATION THE COURTS USED, OR ACTS OF THE
                                                 CONSTITUTION CANNOT
 USED SUCH, THAT ARE REPUGNANT TO THE U.S.
                                                      DISTRICT_ COURT
 BECOME LAW OR STAND AS LAW, PLACING THE N~J.
                                                  S SOUGHT FOR ALL
 AND 3rdg CIRC UIT IN FORFEITURE VIA SANCTION
 RELI EF DEMANDED, E~ANC~Q-~~-~bNE~R1~M~ANQ
                                                ~£CMQGk-CI£~~~C~T 237
                                                       136 S.Ct . 2074 ,
 FoSu pp.3 d. 267( W.D .Pa.2 017) ; ~AX~QR-~Q-UQ£~ 7
                                                  6).
 195 L.Ed .2do 456, 84 U.Se L.W. 4462 (U.S .201

                                                             ERS VIOLATE
          INSOMUCH, YOUR ACTIONS IN HANDLING THESE MATT
                                                 NATIONS BY THE SOLE
 THE 11 CONTRACT 0 THE "GRANT" GIVEN TO YOUR
                  11


                                                    CONTRACT IN VIOLATION
 CORPORATION IMPAIRING THE OBLIGATION OF THE
                                                  ARTICLE IV§ 2 AND
 OF THE PRIV ILEG E AND IMMUNITIES CLAUSE OF
                                                       ESTABLISHING CAUSE
 ARTICLE 1 SECTION 10 OF THE UoSe CONSTITUTION ''s',,j.,



                                                   AND CORRECT YOUR
 BEFORE ALL COURTS ALLOWING ME TO INTERVENE
                                                   JUST ICE, RACIAL ANIMUS
 FRAUD, CRIMINAL CONSPIRACY, OBSTRUCTION OF
                                                      . THUS, ALL ORDERS
 AND APPROPRIATION OF MY INTELLECTUAL PROPERTY
                                                   SHALL GRANT ALL RELI EF
 WITHIN THIS CASE ARE VACATED AND THE COURT
                                                   F JUST ICE OF THE
  DEMANDED BY DECREE AND JUDGMENT OF THE CHIE
                                                    RSEDING ATTOR~EY,
  GLOBAL THEOCRATIC STATE AND COURT WHOSE SUPE
                                                  UPON THE 3rd. CIRC UIT
  JUDI CIAL AND LEGISLATIVE POWER IS BINDING
                                                   PPEL WHERE THE UNITED
  BY THE CLAIM OF DEFAULT AND COLLATERAL ESTO
                                                      EMERGING FROM CASE
  STATES APPEARED AND IS PARTY TO THAT DEFAULT
                                                      ON PLEAS COURT,
  2013 -CP- 400- 0084 IN RICHLAND COUNTY s~c. COMM
 ~RE £AY L~-~ .-l.C  .~.T 494 U.S. 1 8 110 S.Ct u 914, 108 L.Ed .2d.
                                               2013 WL 2338 233( D.C. Ky.
 1 (U.S .199 0); ~RQW~-~.-~RQW~r F.Su pp.2 d.,
                                                  IQW_Q~ERA~lWG-E~GI-
 2013 ); BQARQ-G~-~RY£~EE£-G~-IW~E~NA~IGWAL-UW
                                                            ~~~~RT
 WE~R£r 2016   WL 1253 285; ~~F.~M-~MlRQ-~AW~QR~-~Q-OUDEW~Q
                                                     4578 (U S 2014 );
  132 S.Ct . 2459 1 189 LoEd .2d. 457 1 82 U.S.L ~Wo
                                                              0   0



                                                   17 u.s. 518, 1819
  ~RYS~EE~-G~-QAR~MMQY~~-GQ~~EG~-v~-WQQQWA~Qr
                                  22-o f-27
     Case 1:14-cv-14176-ADB Document 576-5 Filed 10/03/18 Page 52 of 168
WL 2201; WARRI£-~.-M MGREGG-•W ~~r FaSuppo2d e, 2013 WL 1331166(N .C.
2 O13) ; AMERJ;bA:W-M~~.-r..;;i;:gER'J;~~Il}H;;,,, ... c;;G,..-\l~-l21XWQQI) ... !U,A£~IC£ .. cr;nu1""'f'
81 FmSuppe 157(DSC.1 948); Q~ARA~-~g -WEW-~QRK -QE~~v-G~- EQYC.r
F~Supp 3d., 2015 WL 4240733(N .YoDoC.20 15); ~QRQQW-~ .-~~C-~~~A I~
          0



GRQY~-IW~qT F.Supp.3d ., 2016 WL 4247738(D SCo2016).


       THE ORDERS ISSUED WITHIN BOTH CASES 14-2811 AND 14-1364
ARE VACATED~ THESE CASES ARE ESSENTIALLY ON REMAND LIMITING
YOUR JURISDICTI ON TO DO ANYTHING EXCEPT GRANT ALL RELIEF DEMANDED
BY DECREE AND JUDGMENT OF THE CHIEF JUSTICE TO THE (4) THRONES
OF THE GLOBAL THEOCRATIC STATE AND COURTo IT IS                              so   ORDEREDo


        THE LAW AS DETERMINED BY THE UNITED STATES SUPREME COURT
IS CLEAR A~D UNAMBIGUOUS ON ISSUES SUCH AS THE ONES BEING ARGUED
WITHIN THESE CASES~ IF RULING HAS BEEN OBTAINED UNDER AN UNCON-
STITUTIONAL JUDICIAL DETERMINATION AND OR STATUTE AND OR LEGISLA-
TIVE PROVISION AND OR INTERPRETATION OF LAW AND OR ACT, WHICH
INCLUDE FRAUD. THE LAW EXPLAINED IF THIS POSITION IS WELL TAKEN,
WHICH IT IS, IT EFFECTS THE 11 FOUNDATIO N 11 OF THE nWHOLE" PROCEED-
INGS (EMPHASIS ADDED). THIS INCLUDE THE 1986 CONVICTION FOR
POSSESSION OF A WEAPON IN NEW JERSEY, THE HABEAS CORPUS FILED
IN THE N.J. DISTRICT COURT~AND THE CASES BEFORE THE 3rd. CIRCUIT
COURT OF APPEALS. AN UNCONSTITUTIONAL LAW AND OR ACT AND OR
JUDICIAL DETERMINATION IS VOID AND IS AS IF THERE WERE NO ACT,
LEGISLATION OR JUDICIAL DETERMINATION MADE AT ALL, BEING STRUC-
TURAL CONSTITUTIONAL ERROR NOT SUBJECT TO THE HARMLESS ERROR
DOCTRINEa THE GENERAL RULE IS THAT AN UNCONSTITUTIONAL JUDICIAL
DETERMJ.NATION AND OR STATUTE AND OR ACT AND OR LEGISLATIV E PRO-
VISION OF LAW, THOUGH HAVING THE ?ORM AND NAivIE OF LAW, IT IS
IN REALITY NO LAW BY SUCH ACTS, BUT IS WHOLLY VOID AND INEFFEC-
TIVE FOR ANY PURPOSE, WHICH INCLUDE CONVICTION FOR THE 1986
WEAPON POSSESSION CHARGE OR ADJUDICATION VIA HABEAS CORPUS IN
THE NeJe DISTRICT COURT OR THE 3rd. CIRCUIT IN THESE CASES,
SINCE ITS UNCONSTITUTIONALITY DATES FROM THE DATE OF ITS ENACT-
MENT AND OR WHEN THE ACT WAS DONEeoeoIN LEGAL CONTEMPLATION,
IT IS INOPERATIVE AS IF IT HAD NEVER BEEN PASSED OR DONEooooSINCE
AN UNCONSTITUTIONAL LAW AND OR JUDICIAL DETERMINATION AND OR
ACT IS VOID, THE GENERAL PRINCIPLE FOLLOWS THAT IT IMPOSES NO
DUTY (FOR JUDGES IN THIS CASE OR THE REQUIREMENT TO FILE (6)
                                             23-of-27
     Case 1:14-cv-14176-ADB Document 576-5 Filed 10/03/18 Page 53 of 168

MONTH FINANCIAL STATEMENT UNDER PLRA), CONFERS NO RIGHTS (THE
3rd. CIRCUIT HAD NO RIGHT TO ORDER ME TO FILE PURSUANT TO PLRA)                      1

CREATES NO OFFICE (JUDICIAL), BESTOWS NO POWER OR AUTHORITY
 ON ANY PERSON [EMPHASIS ADDED](YOUR JURISDICTION IS MADE VOID),
AFFORDS N.O PROTECTION ( YOU ARE NOT IMMUNE ONCE GIVEN NOTICE
AND YOU FAIL TO VACATE YOUR ORDERS AND GRANT THE RELIEF SOUGHT),
AND JUSTIFIES NO ACTS PERFORMED UNDER IT (YOU ISSUING YOUR ORDERS
OR FAILING TO CORRECT WHICH INCLUDE THE 1986 INDICTMENT, THE
N.J. HABEAS CORPUS AND 3rdo CIRCUIT CASESo YOU ARE IN FORFEITURE
ON ALL RELIEF SOUGHT) •• o.A VOID ACT CANNOT BE LEGALLY CONSISTENT
WITH A VALID ONEe AN UNCONSTITUTIONAL LAW CANNOT OPERATE TO
SUPERSEDE ANY EXISTING LAW~ INDEED INSOFAR AS A JUDICIAL DETER-
MINATION AND OR STATUTE AND OR LEGISLATIVE PROVISION AND OR
ACT RUN COUNTER TO THE FUNDAMENTAL LAW OF THE LAND {THE UaSo
CONSTITUTION), IT IS SUPERSEDED THEREBY 6 NO ONE IS BOUND TO
OBEY FRAUD OR AN UNCONSTITUTIONAL LAW, RULING OR ACT AND NO
COURTS ARE BOUND TO ENFORCE ITo ALL LAWS, RULES, STATUTES AND
PRACTICES THAT ARE REPUGNANT TO THE CONSTITUTION ARE                11
                                                                         NULL
                                                                                11



AND "VOIDva, MAIU~JJR~-l,l.,.-MA.OJ:£0W z 5TH,. U.S.,   ( 2 CRAN CH) 137, 180;
~IWE£~v,-gw1~EO-a~AXE~r 28 F3d. 1123 CRIM. LAW 1163(1 ), 1165(1);
RQ2IW£GW-Y9-AR~O~IGz 27 F3d. 877 REHEARING DENIED CERT. GRANTED
VACATED 115 S.Ct. 1247, 513 UoSo 1186, 131 LoEdo2do 129; ~QUMIE~
v.~YWl~EQ-£~A~E£r 65 FmSupp.3d. 19(2014); ~Q~W£QW~~~-UWI~EQ
£~AXE£ 7 --S.Ct.--, 2015 WL 2473450(UoS.2015); M~kE£-Y.-QOM~WQ!£
~Ii~Ar-~~~. 7 2017 WL 238436(D.CaMiss.2017); ~IRS~-X~~~WG~Q~¼
GA~IXA~r-IW~.-Y.-~AW~~E~r-IW~~r 2016 WL 7444943(D0CeKy.2016);
MAR~~W-¥~-~A~G~~-~QR~~-Q~-M~WWE£Q~A 7 F~Supp.2d., 2013 WL 1187034
(DeN.Je2013); MGCLAkW-~~-l~t~-SECURI~~-BAWK-Q~~WASMIWG~Q~t 2016
WL 8504775(W.D.Wash.2016); MQW~GQMER~-Y.-~QUI£IAWAr 136 S.,Cto
718, 193 L.Ed.2d. 599, 84 UoSoLoW. 4063(U.S.2016); ~E~~-OU~QQQR
L~Cw-~~-GQN£QL1QA~IQW-~I~~-G~-lWQIAW A~Q~I£~~~r 187 F.Supp.3d.
1002, 1012, S.D.ILL~; M~~~-~~-£W~QERy 821 F3d. 763, 765+ (6th.
Cir.MICH.); ~EQ~~E-~.-~Q~QT N.Eo3d.u 2017 WL 1838423(2017);
24-~EWA~QRIAL-QI£~~-R~~g~~I~AW-~GMMI~ ~EE-~~-A~CQ~Wr 820 F3do
624(4th.Cire2016)e


         I MOTION AND SEEK THAT YOU STAY THESE CASES AFTER ACKNOW-
LEDGING THE VACATING OF YOUR ORDERSa I INVOKE THE DOCTRINE OF
COMITYu ONCE YOU GRANT ALL RELIEF YOU ARE TO STAY THESE CASES
                             24-of-27
---- - -• ----- - _,.,. -- - - · - - - - - - - - - =
                          Case 1:14-cv-14176-ADB Document 576-5 Filed 10/03/18 Page 54 of 168
                FOR THE PURPOSE OF US BEING TRANSFERRED TO THE STATE OF NEW
                JERSEY TO THE NICEST FEDERAL PRE-RELEASE CAMP THAT THE COURT
                CAN FIND PURSUANT TO 28 U.S.C.           § 1455(c)e THIS INCLUDE THE KING-
                KHALIFAH AND ALL PARTIES LISTED IN THE PENDING PARALLEL CASES
                WITH ALL OF OUR PROPERTY. WE DON'T NEED YOU STEPPING ON THE
                4TH CIRCUIT'S TOES PRODUCING CONFLICTING JUDICIAL DETERMINATION,
                ~A~E£-~.-~QRQ-MQ~ GR-GGTy--F.Suppc3d .--, 2015 WL 6758983(E.D.NoC.
                2015); Wq-Gg~R-MAR ... -A5£!~-~v-I.L~A~-OE ~~-£EA-~QGA~-24r 751 F2da
                 721, 728(5th.Cir.1985); lW-RET-MQRWIWG-£GW G-~IRQ-~GGQ-bil'IGA~I QWr
                2015 WL 12791472(D.C.Cal.2 015); lW-RE~-WARAW~Gz 768 F3d. 332,
                348(4th.Cir.2014); YbMEX-~~-YWl~ED-£~A ~E£ 7 888 F2d. 1028(4thoCir.
                1989); £MI~W-~ ... ~~A¥ER-~QRR.z--U. s.--, 131 s.ct~ 2368, 2382,
                180 Le Ede 2d. 341 ( 2011}; ;rn.2-WGRl'~-MQWRQEx-J;.I.~-w->.l',..-£GWER 7 850
                F3d. 265(6th.Cirg20!7)s IT IS SO ORDERED.


                       I, JAHJAH AL MAHDI, THE APPELLANT IN THESE CASES, FUL-
                FILLED MY DUTY BY YOUR NATION'S DUE PROCESS LAWS AND PEACEFULLY,
                AS A NON COMBATANT, FILED LEGAL ACTION TO PETITION FOR AND ESTA-
                BLISH THESE RIGHTS, TITLES, PRIVILEGES AND IMMUNITIES, ALL OF
                THEM, WHICH INCLUDE SUPERSEDING ATTORNEY, JUDICIAL AND LEGISLA-
                TIVE POWER AND AUTHORITY. I GAVE PROPER NOTICE AND PROPERLY
                SERVED ALL PARTIES TO WHICH THEY APPEARED, INCLUDING THE UNITED
                STATES AND BROUGHT THE MATTERS TO THEM UNDER CASE 2013-CP-400-
                0084 AND THE NEW JERSEY SUPREME COURT, WHERE ANTHONY COOK AND
                I WERE SUBJECTED TO OUTRAGEOUS ACTS OF FRAUD UPON THE COURT,
                CRIMINAL CONSPIRACY, MACHINATION AND OBSTRUCTION OF JUSTICE,
                WHERE THEY DEFAULTED AND JURISDICTION WAS THEN MADE VOID FOR
                FRAUD, DUE PROCESS VIOLATION AND OTHER UNCONSTITUTIONAL ACTION
                PLACING THEM IN FORFEITURE ON ALL CAUSES, CLAIMS, DEFENSES AND
                COLLATERAL ESTOPPEL ATTACHED. THEREUPON, THE CASE WAS REMOVED
                TO THE FEDERAL DISTRICT COURT WITHIN THE PARALLEL CASES PENDING
                IN SOUTH CAROLINA SOUGHT TRANSFERRED TO NEW JERSEY DISQUALIFYING
                THE SOUTH CAROLINA DISTRICT COURTQ THE PRIVILEGE AND IMMUNITIES
                 CLAUSE PROTECTS THE RIGHTS OF CITIZENS, TO INCLUDE OUT OF STATE
                 AND OR EVEN FOREIGN SOVEREIGN AND OR FOREIGN STATE CITIZENS
                 IN THIS CASE VIA THE FOREIGN SOVEREIGN IMMUNITY ACT CONNECTIONS,
                 TO PLY THEIR TRADE, PRACTICE THEIR OCCUPATION AND PURSUE A COMMON
                 CALLING. IN THIS INSTANCE, THE uCOMMON CALLING" OF ALL MEMBERS
                  OF THE SOLE CORPORATION IS THAT OF FIDUCIARY PROPHET, KING,
                                                       25-of-27
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KHALIFAH, IMAM, LAWGIVER AND HIGH. PRIEST WITH SUPERSEDING AT-
TORNEY, JUDICIA L AND LEGISL ATIVE POWER AND AUTHORITY. THUS,
THE COURTS CANNOT IMPAIR , ONCE PROPERLY PETITIO NED FOR BY DUE
PROCESS LAW, THE FIDUCIARY KING-K HALIFA H'S RIGHTS ON ACCOUNT
OF HIS OUT OF STATE CITIZEN SHIP, SINCE HE DENOUNCES ANY AMERICAN
CITIZEN SHIP, ACTING FOR PROTECTORATE PURPOSES, £CEIWARE-:1.r,.-~QARQ
Q~-EXAM£-GR-£'J;'AXE-O~-N~M•y 353 U.,So 232, 77 S.Cto 752, 64 A.L.R.
2d. 288, 1 L.Edo2d o 796(0., 8.1957 ); ~AC1RE -Y~-SUL ~I~ANr 2017
WL 371006 6(D.C.N ev.2017 ); VIRGIWIA-~GARQ-G~-MEQIC1~E-Y~-ZACKR1£QN
67 Va. Appo 461, 796 S.Eo2d . 866(20 17); QGE-Yv-:RGGER~r 139
F.Supp .3d. 120(D. C.C.20 15); Mi;;liHJRW E~-v ... -¼QlJN~ r 569 U.S. 221,
133 s.ct .. 1709g 185 L.,Ed.,2 d. 758(U. S.2013 ); irn:J:Jli:.X-Y..,.-l.ZE:RJl4QJ;.7'J;'T
2017 WL 216712 3(2017 ); £CMQEN~ELD-l,lv-£C~WE~QE:RMANy 821 F3d.
 273(2n d.Cir.2 016).,

                       .
        WHEN IT COMES TO THE SUPERSEDING ATTORNEY, JUDICIA L AND
 LEGISLA TIVE POWER AND AUTHORITY OF THE CROWN ESTABLISHED BY
 DUE PROCESS LAW TO WHICH THE KING-KHALIFAH, JAHJAH AL MAHb'i
 AKA LAWRENCE L. CRAWFORD, THE FIDUCIARY FOREIGN SOVEREIGN TO
 THE (4) GLOBAL THRONES OFFICIA LLY INVOKES AND EXERCISES BEFORE
 THIS COURT. THE 3rd. CIRCUIT COURT OF APPEALS NOR THE N.J. DIS-
 TRICT COURT NOR THE STATE OF NEW JERSEY OR STATES OF THIS NATION
OR ANY OTHER NATION SINCE THE (193) MEMBERS STATES OF THE U.,N.
ARE PARTY TO THE DEFAULT AS WELL, CANNOT DIMINIS H THE RIGHTS
OF THE KING-KHALIFAH, JAHJAH AL MAHDI, THE KING OF THE NORTH,
AND HIS HOLY COMMONWEALTH, THE PEOPLE , ESTABLISHED BY CONTRACT
AND DEFAULT WHICH IS LEGALLY PROTECTED UNDER BOTH ARTICLE 1                   \



SECTION 10 AND ARTICLE IV§ 2 OF THE U.S., CONSTITUTION AND DUE
PROCESS LAW. IT IS ESTABLISHED AS BOTH A LIBERTY AS A FOREIGN
                                           11      11




SOVEREIGN KING-KHALIFAH AND A "PRIVIL EGE" BY WHAT OCCURRED UNDER
CASE 2013-C P-400-0 084 IN THE SOUTH CAROLINA COURT BY THEIR FRAUD.
NO STATE SHALL CONVERT A LIBERTY INTO A PRIVILE GE, LICEN9E IT,
AND EXCHANGE A FEE THEREFOR, MURQQCK-Y.-~EWW£XL~AW~Ax 319 U.S.
105(U. S.1943 ).


       YOUR LAWS CANNOT EXCEED THE AUTHORITY OF THE LAWGIVER,
WHICH I INDEED AM BY CONTRACT, DEFAULT AND COLLATERAL ESTOPP EL.
YOU HAVE NO MORE RIGHT TO DECLINE THE EXERCISE OF JURISD ICTION
WHICH IS GIVEN WITH RESTRIC TIONS BY THIS DOCUMENT WITH ITS AT-
                                      26-of-2 7
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          Case 1:14-cv-14176-ADB Document 576-5 Filed 10/03/18 Page 56 of 168

    TACHMENTS, THAN TO USURP THAT WHICH IS NOT GIVENo THE ONE OR
    THE OTHER WOULD BE TREASON AGAINST THE CONSTITUTION ITSELFQ
    THE SEVERAL STATES LEGISLATORS AND THEIR JUDICIARIES, WHICH
    INCLUDE THE FEDERAL GOVERNMENT AND 3rdo CIRCUIT COURT OF APPEALS,
    ARE BOUND BY THEIR SOLEMN OBLIGATION OF AN OATH TO SUPPORT THE
                                        i
    FEDERAL CONSTITUTION. IF YOU WILLFULLY LEGISLATE, OR GIVE A
    JUDICIAL DETERMINATION VIOLATING THE KING-KHALIFAH 1 S RIGHTS
    ESTABLISHED THEREBY, ¥OU ARE GUILTY OF FRAUD, PERJURY AND OTHER
    FEDERAL AND OR STATE CRIMES WHICH VOID YOUR JURISDICTION, STRIP-
    PING YOU OF IMMUNITY, SUBJECTING YOU TO CIVIL AND CRIMINAL PENAL-
    TIES AS WELL AS DISMISSAL FOR ALSO BREACH OF THAT CONTRACTe
    I AM SURE THAT RACIST BASTARD, DAVID DUKES, KU KLUX KLANSMAN
    DEMON DOG, DONALD DUCK DUNCE TRUMP WILL ENJOY PLACING ANOTHER
    JUDGE IN YOUR SPOTS, ~QME~-~~-VlRGIWIA 7                  (6 WHEAT) 19 U.S. 264
    (UoS.1821)0 THE CLAIM TO EXERCISE CONSTITUTIONALLY PROTECTED
    RIGHTS CANNOT BE CONVERTED INTO A CRIMEo SINCE THE STATE OF
    SOUTH CAROLINA, THE NEW JERSEY SUPREME COURT, THE UNITED STATES
    AND REMAINING (192) MEMBER STATES OF THE UNITED NATIONS, BY
    THEIR ACTIONS IN NEW JERSEY AND CASE
                                     .... 2013-CP-400-0084 HA·s NOW
                                                ,:



    ALSO CONVERTED THIS SOVEREIGN LIBERTY INTO A NATIONAL AND GLOBAL
    PRIVILEGE, WHICH INDEED THEY HAVEo THE KING-KHALIFAH, HIS HOLY
    COMMONWEALTH, AND ALL THOSE WHOM HE APPOINTS, CAN ENGAGE IN
    THE RIGHTS WITHOUT IMPUNITYa YET, IT IS STILL A SOVEREIGN LIBERTY
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    PROTECTtD UNDER CONTRAC~ AS THE FIDUCIARY HEIR AND SOVEREIGN
    OF THE (4) GLOBAL THRONES, WUR~ACG-v~-~A~I~QRW~A~ 110 UoSo 516
    (UsS .. 1884); .MI1.1.ER-v,.,-1JNI:;i;:'EQ-£'.J;A'I'E£";7' 230 F2du 486, 489(5thaCiro
    1956); £MUT,~LE£~WQR~~-v~-£rRMIWG~AM~ 373 U.So 262(U=So1963};
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    £aERER-Vw-~lJ~bEW,- 481 F. 945, 946; MIRAWQA-~~-ARiiQNAr 384 u.so
    436(U S 1966); £~AlJ~-~~-~I~¥-OR-~AXb~Xr 355 UaSo 313(UoS.1958);
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    ·uwI~EC-£~A~E£-VT-~A~K£QW 7 390 U.Sa 570(U.S.,1968); YW~~EQ-£~A~E£
    v.~E~EN¥I 7 --Fed      0   Appx'--, 2017 WL 6523328(10thoCir.2017); EL~
    AMEEW-~E~-~.-£~1JM~RL 825 F0Supp.2dc 537(D0NeJ02011 )c IT IS SO
    ORDERED.,



                                                     RESPECTFULLY,
                                             ~AHJAH AL MAHDI, KING, KHALIFAH
                                              AND CHIEF JUSTICE OF THE GLOBAL
    JANUARY 16, 2018                          THEOCRATIC



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      Jeanette W. McBrid e                                                             ... Mailing Address · -
      Clerk of Court                                                                 Post Office aox 2766
                                                                                     Columbia, SC-29202
      Virginia F. Belcher                                                          Phone: (803) 576-1939
      Chief Deputy Clerk of Court                                                    Fax: (803) 576-1925

                               RICHLAND COUNTY JUDICI AL CENTE R
                                            Clerk of Court
                                      Criminal Records Division
                                          1701 Main Street
                                              Suite 205··
                                        Columbia, SC 2920r
 , Name:LOtiJ(((lUZ,_ {rar u61 tr)
    Date:    } - /   2 -/7
   We have received yotir inquiry and respond as follows:

   _ _ Please find enclose d the followin g documemts(s)
            _ _ Disposi tion _ _ Sentenc e __Warran t                  Indictm ernt __Motion
                 Other:
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  _L     A copy of your request has ~een fonvard ed for handlin g to:
            _ _ Solicito rs Office _ _ Public Defemuller's Office
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  (Please note: Any motion or other court document has been clocked prior to forwarding
                                                                                        to the
  appropriate office, This office DOES NOT schedule and/or handle motions or other legal
                                                                                          matters)
  _ _SCDC is respons ible for clearing up detaimers. Ymir charge( s) have been faxed
                                                                                     to SCDC.
 _ _ SCDC calculat es credit for time served. Necess:nry records have been faxed to
                                                                                    SCDC. -
 _ _To obfain a transcri pt, please write to SC Court Admini stration at 1220 Senate
                                                                                     Street,
 Suite 200, Columb ia, SC 29201 and provide the case ngmber , Judge's name, and date
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 We need more informa tion to process y~ur request:
 _ _ Case Numbe r _ _ Charge _ _ SSN __Court Locatio1ra _ _Dite of Arrest

_ _ There is mo record of said charge.

      Please contact:
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DISCLA IMER: The role of the Clerk of Court's office is to maintai n court documen
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office provides copies of case docume nts (wit_h proper identifying information) upon
                                                                                            request,
but does not provide other informa tion regardin g lll c:nse. The Clerk's office is not
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give legal advice and/or determi ne length of sentence or other ca_se" specific question
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         STA TE OF SOUTH c.,        AR.OTA            l                       ) · IN THE COURT OF (Select one)

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                                                                              ) ~ GENERAL SESSIONS
                                                                              ) D·1
                                                                              ) -5--H,
                                                                                      fAMILYCOURT
                                                                                           JUDICIAL CIRCUIT

Lfe}W~~L~Name of applicant and Inmate number (if applicable)
                                                                              )
                                                                              ) APPLICATION FOR
                                                                              ) FORENSIC DNA TESTING
                                                                                                                 .




.        OR
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                                  ,,.,.-_1:))VU 1:-:J~::;;--t
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                                                                              ) ORJGINAL INDICTMENT NO.
     IN THE INTEREST OF
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    . kn~~flt· Wjtwfk~
         Juvenile        .           ·                 _)
                                                                             )
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                                                                                             OR
                                                                             )
                                           V.                                )   ORIGINAL PETITION NO.
                                                                             )
     State of South Carolina                                                 )   _ _ -JU-
                                                                             )
                                                                             )

                                                INSTRUCTIONS..., READ CAREFULLY

            In order for this application to receive c.onsideration by the Court, it shall be in writing (legibly
    handwritten or typewritten), signed by the applicant and verified (notarized), and it shall set forth in
    concise form the answers to each applicable question. If necessary, applicant may continue an answer to a
    particular question on the reverse side of the page or on an additional page. Applicant shall make clear to
    wh'ich question any such continued answer refers.

            Since every application must be sworn under oath, any false statement of a material fact therein
    may serve as the basis of prosecution and conviction for perjury. Applicants should, therefore, exercise
    care to assure that all answers are true and correct.

          If the application is taken in for ma pauperis, it shall include an affidavit (attached at the end of the
. form) setting forth information which establishes that applicant will be unable to pay the fees and costs of
  the proceedings. When the application is completed, the original shall be mailed to the Clerk of Court for
  the County in which the applicant was convicted or adjudicated.

           I understand that DNA testing is only available if I have been convicted or adjudicated of an
    offense listed in S.C. Code Ann. § 17-28-30, that I am currently incarcerated for that offense, and that I
    am asserting that I am innocent of the offense. Further, if the conviction or adjudication was the result of
    a plea of guilty or nolo contendere; the application must be filed within seven years of the date of
    sentencing.

    1.              Identify the proceedings in which the applicant was convicted or adjudicated:




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2.

                                                                                                                                   1   ,,;,




     and current place of incarceration:

3.   Identify all previous or ongoing proceedings , together with the grounds therein asserted, taken by
     the applicant to secure relief from his conviction or adjudication:




4.




5.   Explain why the identity of the applicant was or should have been a significant issue during the
     original court proceedings , notwithstan ding the fact that the applicant may have pied guilty or nolo
     contendere or made or is alleged to have made an incriminatin g statement or admission as to
     identity:



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                                                              l!,{




6.   Explain why the physical evidence or biological material sought to be tested was not previously
     subjected to DNA testing, or if the physical evidence or biological material sought to be tested was
     previously subjected tq DNA testing, provide the results of the testing and explain how the

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     requested DNA test would provide a substantiall y mor~ ~robativ~ result: •,
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  7.       Explain why if the DNA testing produces exculpatory results, the testing will constitute
           new evidence that will probably change the result of the applicant's conviction or adjudication
           if a new triial is granted and. i.~no~ merely ~u~t_1_1a~ive? i:peacJ_ing: _                 ! , _. ;. _. !. .
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'. 8.     I assert that I am actually innocent of the listed offense, that this offense is listed in S.C. Code Ann.
          § 17-28-30 and that I am currently incarcerated for the listed offense. I attest that this application
          is made to demonstrate innocence and not solely to delay the· execution of a sentence or the ·
          administration of justice.

 9.       If DNA testing is conducted and results are determined to be inculpatory by the Court, I
          understand that:

          (a)      The Court may hold me in contempt of court if it determines that my assertion of actual
                   innocence was intentionally false;
                                                                  I
          (b)      The Court may assess the cost of any DNA testing against me;

          (c)      The South Carolina Department of Corrections may use this determination to deny good
                   conduct credit; and,

          (d)


                                        a~,~-.
                   The Department of Probation, Parole, and Pardon Services can use this determination to
                   deny parole.                                                           ·
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                     Print Applicant Name                                           ~oat                                                    __,.




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              STA TE OF SOUT~ Cf R9~INA                   ¾~                ~       VERIFICATION
              County of        R~'\ LVf/}Jcl                               )
              I   Lt~ ,                       being duly sworn upon my oath, depose and say that I haVe
              subscribed t~ingapplication; that I know the contents thereof; and that the matters and
              allegations set forth are true.


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              SWORN to a~ subscribed betore me this_"'_-_
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              day of   V ~ Lt;:...i-a /o£/4,.. , 2 R'lh


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                                                                     ____- (L.S.)

              My Commission Expires: --~--_--__;z--'--0_'         -_;z~0=-




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                                    OF COSTS AND AFF IDA VIT
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   prep aym ent of fees oi' cost s or secu rity                                     in this actio n with out
                                                   therefor. In supp ort of my appl icati on
   pena lty of perj ~ry that the follo win g facts                                           I decl are und er
                                                   are true:

          (I)      I am the appl ican t in this action and I beli
                                                                  eve I am enti tled to redress.
          (2)    . Bec ause of my pove rty I am unab le to
                                                           pay the cost s of said proc eedi ng or give
                   secu rity ther eof.




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                                                           (L.S.)

  My Com miss ion Exp ires:             ,- ~()- ;2.__fo




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